       Case 3:20-cv-02935-N Document 1 Filed 09/23/20          Page 1 of 73 PageID 1



                             UNITED STATES DISTRICT COURT FOR THE
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

  GWENDOLYN CARSWELL, individually              §
  and as dependent administrator of, and on     §
  behalf of, the ESTATE OF GARY                 §
  VALDEZ LYNCH, III, and GARY                   §
  VALDEZ LYNCH, III’S heirs-at-law,             §
                                                §
  Plaintiff,                                    §
                                                §    CIVIL ACTION NO. ______________
  v.                                            §
                                                §    JURY DEMANDED
  HUNT COUNTY, TEXAS; GEORGE A.                 §
  CAMP; JANA R. CAMPBELL; HELEN                 §
  M. LANDERS; KENNETH R.                        §
  MARRIOTT; KOLBEE A. PERDUE; TERI              §
  J. ROBINSON; VI N. WELLS; and                 §
  SCOTTY D. YORK,                               §
                                                §
  Defendants.                                   §

                                PLAINTIFF’S ORIGINAL COMPLAINT

         This is a case of a tragic pre-trial inmate death of a 32-year-old man which could
  have easily been avoided. Defendants ignored Gary Lynch’s dire medical condition, and
  his and other inmates’ pleas for help. Defendants’ deliberate indifference and objective
  unreasonableness caused Gary’s unnecessary suffering and death.




Plaintiff’s Original Complaint – Page 1 of 73
      Case 3:20-cv-02935-N Document 1 Filed 09/23/20                                              Page 2 of 73 PageID 2



                                                         Table of Contents


I.       Introductory Allegations .............................................................................................. 4
         A.        Parties ............................................................................................................... 4
         B.        Jurisdiction and Venue ..................................................................................... 9
II.      Factual Allegations ...................................................................................................... 9
         A.        Introduction ...................................................................................................... 9
         B.        Gary’s Incarceration and Death in the Hunt County Jail ................................. 10
                   1.         Introduction .......................................................................................... 10
                   2.         Witness Statements .............................................................................. 11
                              a.          Bixler, Michael S. – Officer (Badge No. 3637) ....................... 11
                              b.          Brookins, Jerrell Lee – Inmate ................................................. 12
                              c.          Cole, Eugene – Inmate ............................................................. 13
                              d.          Grigsby, Donald R. – Inmate ................................................... 18
                              e.          Hobdy, Lee Clinton – Inmate................................................... 19
                              f.          Hunter, Robert T. – Sergeant (Badge No. 3821) ..................... 20
                              g.          Jones, Roger Junior - Inmate ................................................... 21
                              h.          Landers, Helen M. – Medical Officer (Badge No. 3704) ........ 22
                              i.          Leevey, Roy D. – Sergeant (Badge No. 2725) ........................ 23
                              j.          Parker, Antonio Dimitri – Inmate ............................................ 23
                              k.          Robinson, Teri J. – (Badge No. 3337) ..................................... 25
                              l.          Smith, Jerome Antwone – Inmate ............................................ 26
                   3.         Death Reports....................................................................................... 27
                              a.          Autopsy – Dallas County Medical Examiner .......................... 27
                              b.          Inmate Death Reporting Form – Hunt County Sheriff’s
                                          Office ....................................................................................... 28
                              c.          Inquest Report – Judge Money ................................................ 29
         C.        Investigation by Hunt County Sheriff’s Department ....................................... 29
         D.        Defendants’ Knowledge and Education........................................................... 35
         E.        Monell Liability of Hunt County ..................................................................... 44
                   1.         Introduction .......................................................................................... 44
                   2.         Hunt County Policies, Practices, and/or Customs ............................... 46




Plaintiff’s Original Complaint – Page 2 of 73
       Case 3:20-cv-02935-N Document 1 Filed 09/23/20                                            Page 3 of 73 PageID 3



                   3.         Texas Commission on Jail Standards: Hunt County Jail Failed
                              Inspections ........................................................................................... 51
                   4.         Other Incidents ..................................................................................... 57
III.     Causes of Action .......................................................................................................... 60
         A.        14th Amendment Due Process Claims Under 42 U.S.C. § 1983: Objective
                   Reasonableness Pursuant to Kingsley v. Hendrickson ..................................... 60
         B.        Remedies for Violation of Constitutional Rights and Other Federal Claims .. 63
         C.        Cause of Action Against Individual Defendants Under 42 U.S.C. § 1983 for
                   Violation of 14th Amendment Due Process and/or 4th Amendment Rights to
                   Reasonable Medical Care, to be Protected, and not to be Punished ................ 64
         D.        Cause of Action Against Hunt County Under 42 U.S.C. § 1983 for Violation
                   of 14th Amendment Due Process and/or 4th Amendment Rights to
                   Reasonable Medical Care, to be Protected, and not to be Punished ................ 68
IV.      Concluding Allegations and Prayer ............................................................................. 70
         A.        Conditions Precedent ....................................................................................... 70
         B.        Use of Documents at Trial or Pretrial Proceedings ......................................... 70
         C.        Jury Demand .................................................................................................... 70
         D.        Prayer ............................................................................................................... 70




Plaintiff’s Original Complaint – Page 3 of 73
     Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 4 of 73 PageID 4



TO THE HONORABLE UNITED STATES DISTRICT COURT:
         Plaintiff files this complaint and for cause of action will show the following.


I.       Introductory Allegations
         A.       Parties

         1.       Plaintiff Gwendolyn Carswell (“Gwendolyn Carswell” or “Ms. Carswell”) is a

natural person who resided in, was domiciled in, and was a citizen of Texas at all relevant times.

Gwendolyn Carswell was Gary Valdez Lynch, III’s biological and legal mother. Decedent Gary

Valdez Lynch, III is referred to herein at times as “Mr. Lynch” or “Gary.” Ms. Carswell sues in

her individual capacity and as the Dependent Administrator of the Estate of Gary Valdez Lynch,

III, Deceased. Ms. Carswell, when asserting claims in this lawsuit as the Dependent Administrator,

does so in that capacity and on behalf of the estate and all of Gary’s heirs (including Gary’s heirs-

at-law, including: Gwendolyn Carswell (Gary’s mother), Shonqua Franklin (Gary’s half-sister),

Tywana Cobb (Gary’s half-sister), Michael Lynch (Gary’s half-brother), Roderick Cobb (Gary’s

half-brother), Gary Valdez Lynch, Jr. (Gary’s half-brother), Shonda Runnel (Gary’s half-sister),

Alicia Gentry (Gary’s half-sister), and Ashley Gentry (Gary’s half-sister). All of the people in the

immediately preceding sentence are collectively referred to herein as the “Claimant Heirs.” Ms.

Carswell asserts claims on behalf of, and seeks all survival damages and wrongful death damages

available to, herself individually and Claimant Heirs. Letters of dependent administration were

issued to Ms. Carswell on or about September 8, 2020, in Cause Number 18793, in the County

Court at Law No. 2 of Hunt County, Texas, in a case styled Estate of Gary Valdez Lynch, III,

Deceased.

         2.       Defendant Hunt County, Texas (“Hunt County”) is a Texas county. Hunt County

may be served with process pursuant to Federal Rule of Civil Procedure 4(j)(2) by serving its chief

executive officer, Honorable County Judge Bobby W. Stovall, at Hunt County Courthouse, 2507


Plaintiff’s Original Complaint – Page 4 of 73
     Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 5 of 73 PageID 5



Lee Street, 2nd Floor, Greenville, Texas 75401, or wherever Honorable Judge Stovall may be

found. Service on such person is also consistent with the manner prescribed by Texas law for

serving a summons or like process on a county as a Defendant, as set forth in Texas Civil Practice

and Remedies Code Section 17.024(a). Hunt County acted or failed to act at all relevant times

through its employees, agents, representatives, jailers, and/or chief policymakers, all of whom

acted under color of state law at all relevant times, and is liable for such actions and/or failure to

act to the extent allowed by law (including but not necessarily limited to law applicable to claims

pursuant to 42 U.S.C. § 1983 for violation of the United States Constitution). Hunt County’s

policies, practices, and/or customs were moving forces behind, caused, and/or were proximate

causes and/or producing causes of constitutional violations, and resulting damages and death,

referenced in this pleading.

         3.       Defendant George A. Camp (sometimes referred to herein as “Mr. Camp” or

“Officer Camp”) is a natural person who resides, is domiciled, and may be served with process at

3256 County Road 4119, Campbell, Texas 75422. Mr. Camp may also be served at his place of

employment, Hunt County Detention Center, 2801 Stuart Street, Greenville, Texas 75401. Mr.

Camp may also be served with process wherever he may be found or, pursuant to Federal Rule of

Civil Procedure 4(e), by leaving a copy of this complaint and a summons directed to Mr. Camp at

Mr. Camp’s dwelling or usual place of abode with someone of suitable age and discretion who

resides there. Mr. Camp is being sued in his individual capacity, and he acted at all relevant times

under color of state law. Mr. Camp was employed by Hunt County at all such times and acted or

failed to act in the course and scope of his duties for Hunt County.

         4.       Defendant Jana R. Campbell (sometimes referred to herein as “Ms. Campbell” or

“Officer Campbell”) is a natural person who resides, is domiciled, and may be served with process




Plaintiff’s Original Complaint – Page 5 of 73
     Case 3:20-cv-02935-N Document 1 Filed 09/23/20                Page 6 of 73 PageID 6



at 205 S. Manson Street, Apt. A, Wolfe, Texas 75496. Ms. Campbell may also be served at her

place of employment, Hunt County Detention Center, 2801 Stuart Street, Greenville, Texas 75401.

Ms. Campbell may also be served with process wherever she may be found or, pursuant to Federal

Rule of Civil Procedure 4(e), by leaving a copy of this complaint and a summons directed to Ms.

Campbell at Ms. Campbell’s dwelling or usual place of abode with someone of suitable age and

discretion who resides there. Ms. Campbell is being sued in her individual capacity, and she acted

at all relevant times under color of state law. Ms. Campbell was employed by Hunt County at all

such times and acted or failed to act in the course and scope of her duties for Hunt County.

         5.       Defendant Helen M. Landers (sometimes referred to herein as “Ms. Landers,”

“Officer Landers,” and/or “Medical Officer Landers”) is a natural person who resides, is

domiciled, and may be served with process at 2104 Church Street, Greenville, Texas 75401. Ms.

Landers may also be served with process wherever she may be found or, pursuant to Federal Rule

of Civil Procedure 4(e), by leaving a copy of this complaint and a summons directed to Ms.

Landers at Ms. Landers’ dwelling or usual place of abode with someone of suitable age and

discretion who resides there. Ms. Landers is being sued in her individual capacity, and she acted

at all relevant times under color of state law. Ms. Landers was employed by Hunt County at all

such times and acted or failed to act in the course and scope of her duties for Hunt County.

         6.       Defendant Kenneth R. Marriott (sometimes referred to herein as “Mr. Marriott” or

“Officer Marriott”) is a natural person who resides, is domiciled, and may be served with process

at 623 Mink Drive, Greenville, Texas 75402. Mr. Marriott may also be served at his place of

employment, Hunt County Detention Center, 2801 Stuart Street, Greenville, Texas 75401. Mr.

Marriott may also be served with process wherever he may be found or, pursuant to Federal Rule

of Civil Procedure 4(e), by leaving a copy of this complaint and a summons directed to Mr.




Plaintiff’s Original Complaint – Page 6 of 73
     Case 3:20-cv-02935-N Document 1 Filed 09/23/20                Page 7 of 73 PageID 7



Marriott at Mr. Marriott’s dwelling or usual place of abode with someone of suitable age and

discretion who resides there. Mr. Marriott is being sued in his individual capacity, and he acted at

all relevant times under color of state law. Mr. Marriott was employed by Hunt County at all such

times and acted or failed to act in the course and scope of his duties for Hunt County.

         7.       Defendant Kolbee A. Perdue (sometimes referred to herein as “Mr. Perdue” or

“Officer Perdue”) is a natural person who resides, is domiciled, and may be served with process at

212 N. 3rd Street, Celeste, Texas 75423. Mr. Perdue may also be served with process wherever he

may be found or, pursuant to Federal Rule of Civil Procedure 4(e), by leaving a copy of this

complaint and a summons directed to Mr. Perdue at Mr. Perdue’s dwelling or usual place of abode

with someone of suitable age and discretion who resides there. Mr. Perdue is being sued in his

individual capacity, and he acted at all relevant times under color of state law. Mr. Perdue was

employed by Hunt County at all such times and acted or failed to act in the course and scope of

his duties for Hunt County.

         8.       Defendant Teri J. Robinson (sometimes referred to herein as “Ms. Robinson” or

“Officer Robinson”) is a natural person who resides, is domiciled, and may be served with process

at 1214 County Road 4752, Sulphur Springs, Texas 75482. Ms. Robinson may also be served at

her place of employment, Hunt County Detention Center, 2801 Stuart Street, Greenville, Texas

75401. Ms. Robinson may also be served with process wherever she may be found or, pursuant

to Federal Rule of Civil Procedure 4(e), by leaving a copy of this complaint and a summons

directed to Ms. Robinson at Ms. Robinson’s dwelling or usual place of abode with someone of

suitable age and discretion who resides there. Ms. Robinson is being sued in her individual

capacity, and she acted at all relevant times under color of state law. Ms. Robinson was employed




Plaintiff’s Original Complaint – Page 7 of 73
     Case 3:20-cv-02935-N Document 1 Filed 09/23/20                Page 8 of 73 PageID 8



by Hunt County at all such times and acted or failed to act in the course and scope of her duties

for Hunt County.

         9.       Defendant Vi N. Wells (sometimes referred to herein as “Ms. Wells,” “Officer

Wells,” and “Nurse Wells”) is a natural person who resides, is domiciled, and may be served with

process at 8644 Dustin Drive, Quinlan, Texas 75474. Ms. Wells may also be served at her place

of employment, Hunt County Detention Center, 2801 Stuart Street, Greenville, Texas 75401. Ms.

Wells may also be served with process wherever she may be found or, pursuant to Federal Rule of

Civil Procedure 4(e), by leaving a copy of this complaint and a summons directed to Ms. Wells at

Ms. Wells’ dwelling or usual place of abode with someone of suitable age and discretion who

resides there. Upon information and belief, Ms. Wells is also known as Nita Wells, Nita Nita

Wells, and/or Vi Nita Wells. Ms. Wells is being sued in her individual capacity, and she acted at

all relevant times under color of state law. Ms. Wells was employed by Hunt County at all such

times and acted or failed to act in the course and scope of her duties for Hunt County.

         10.      Defendant Scotty D. York (sometimes referred to herein as “Mr. York,” “Officer

York,” or “Sergeant York”) is a natural person who resides, is domiciled, and may be served with

process at 731 Chestnut Lane, Cooper, Texas 75432. Mr. York may also be served at his place of

employment, Hunt County Detention Center, 2801 Stuart Street, Greenville, Texas 75401. Mr.

York may also be served with process wherever he may be found or, pursuant to Federal Rule of

Civil Procedure 4(e), by leaving a copy of this complaint and a summons directed to Mr. York at

Mr. York’s dwelling or usual place of abode with someone of suitable age and discretion who

resides there. Mr. York is being sued in his individual capacity, and he acted at all relevant times

under color of state law. Mr. York was employed by Hunt County at all such times and acted or

failed to act in the course and scope of his duties for Hunt County. George A. Camp, Jana R.




Plaintiff’s Original Complaint – Page 8 of 73
      Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 9 of 73 PageID 9



Campbell, Helen M. Landers, Kenneth R. Marriott, Kolbe A. Perdue, Teri J. Robinson, Vi N.

Wells, and Scotty D. York are collectively referred to herein as the “Individual Defendants.”

         B.       Jurisdiction and Venue

         11.      The court has original subject matter jurisdiction over this lawsuit according to 28

U.S.C. § 1331 and 1343(4), because this suit presents a federal question and seeks relief pursuant

to a federal statute providing for the protection of constitutional rights. This suit arises under the

United States Constitution and 42 U.S.C. § 1983. The court has personal jurisdiction over Hunt

County because it is a Texas county. The court has personal jurisdiction over the Individual

Defendants because they reside and are domiciled in, and are citizens of, Texas.

         12.      Venue is proper in the Dallas Division of the United States District Court for the

Northern District of Texas, pursuant to 28 U.S.C. § 1391(b)(2). A substantial part of the events or

omissions giving rise to claims in this lawsuit occurred in Hunt County, which is in the Dallas

division of the United States District Court for the Northern District of Texas.


II.      Factual Allegations

         A.       Introduction

         13.      Plaintiff provides in the factual allegations sections below the general substance of

certain factual allegations. Plaintiff does not intend that those sections provide in detail, or

necessarily in chronological order, any or all allegations. Rather, Plaintiff intends that those

sections provide Defendants sufficient fair notice of the general nature and substance of Plaintiff’s

allegations, and further demonstrate that Plaintiff’s claim(s) have facial plausibility. Whenever

Plaintiff pleads factual allegations “upon information and belief,” Plaintiff is pleading that the

specified factual contentions have evidentiary support or will likely have evidentiary support after

a reasonable opportunity for further investigation or discovery. Moreover, where Plaintiff quotes




Plaintiff’s Original Complaint – Page 9 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                Page 10 of 73 PageID 10



a document, conversation, or recording verbatim, Plaintiff has done Plaintiff’s best to do so

accurately and without any typographical errors.

          B.      Gary’s Incarceration and Death in the Hunt County Jail

                  1.        Introduction

          14.     Gary was born in 1987, and he was only 32 years old at the time of his tragic and

unnecessary death on February 23, 2019 in the Hunt County jail. Gary was in the Hunt County

jail as a pre-trial detainee. He was survived by a number of family members, including his mother.

Individual Defendants’ deliberate indifference, and objective unreasonableness, in their actions

and inaction, and Hunt County’s policies, practices, and/or customs, caused, were proximate

causes of, and were producing causes of Gary’s suffering and death and all other damages set forth

and/or referenced in this pleading. General details regarding Gary’s incarceration and death are

set forth below, in the form of relevant summaries of statements of persons involved, and

referenced documents. Thus, this portion of the pleading provides just a general summary of some

events.

          15.     Gary was processed into the Hunt County jail on February 12, 2019 at

approximately 4:35 p.m. He was then housed from February 19, 2019 through February 22, 2019

in Tarrant County, with other Hunt County jail inmates, while emergency repairs to gas line(s) at

the Hunt County jail were performed. According to Hunt County records, on Tuesday, February

19, 2019, someone discovered a gas leak in the jail. Atmos arrived at the jail and shut off the gas

until repairs could be made. Hunt County jail staff evacuated all prisoners from the Hunt County

jail no later than 5:00 p.m., taking some to the Greenville Police Department, others to Hopkins

County, and others to Tarrant County. The jail sent guards to Tarrant County to guard prisoners

taken to that location. Maintenance crews and plumbers worked that week to repair the gas leak.

Late Friday afternoon, February 22, 2019, the facility passed inspections, and the gas was restored.


Plaintiff’s Original Complaint – Page 10 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                    Page 11 of 73 PageID 11



At approximately 9:28 p.m. on Friday night, Gary and some other inmates returned to the Hunt

County jail from Tarrant County. Gary was placed into a cell, with other inmates, at approximately

9:35 p.m. On February 23, 2019, at approximately 11:18 a.m., jail and medical personnel

responded to Gary’s cell after other inmates reported Gary’s death.

                  2.        Witness Statements

                            a.       Bixler, Michael S. – Officer (Badge No. 3637)
         16.      Officer Michael S. Bixler wrote a statement regarding Gary’s death, indicating that

other involved officers were Captain Sherman, Lieutenant Stroud, Sergeant Hunter, Sergeant

Leevey, Sergeant Jordan, Officer Briggs, Officer T. Robinson, Officer Bragg, Officer Lewis,

Officer Dressel, Officer Norris, and Medical Officer Landers. Officer Bixler indicated that he was

by the dress-out area in Intake, on February 23, 2019, when he heard a Code Blue over the radio.

He and Sergeant Hunter went to Cell NE 319. This was the cell in which Gary and seven other

inmates – apparently all African-American – were incarcerated.




Plaintiff’s Original Complaint – Page 11 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                    Page 12 of 73 PageID 12




         17.      Officer Lewis, Medical Officer Landers, and Officer Bixler all went into Cell 319.

They saw Gary laying on the top bunk, furthest from the door, with his eyes open. There was a

white substance on and around Gary’s mouth. Emergency treatment was provided, but it was too

late for Gary.

                            b.       Brookins, Jerrell Lee – Inmate
         18.      Jerrell Brookins was incarcerated during at least a portion of the same time period

Gary was incarcerated in the Hunt County jail, when Hunt County inmates were removed from the

Hunt County jail due to a gas leak and temporarily housed in a Tarrant County facility. Mr.

Brookins was not housed in the same cell or pod as Mr. Lynch, but he was in the same hallway in

which Gary collapsed. Mr. Brookins was about 10-15 feet up a long hallway from Gary when

Gary collapsed. Gary was further up in the line because of his medical condition. People with




Plaintiff’s Original Complaint – Page 12 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                 Page 13 of 73 PageID 13



medical conditions were the first to be housed. Mr. Brookins did not know specifics about Gary’s

medical condition, but he had heard that Gary had chest problems. Upon information and belief,

all Defendants had also heard about Gary’s “chest problems,” and knew enough to know that Gary

needed emergency medical treatment away from the jail. Further, upon information and belief, all

Defendants, as is common knowledge, knew that someone with significant chest pain and/or chest

problems should be taken to the local emergency department as soon as possible due to the risk of

heart attack and/or similar serious cardiovascular issues.

         19.      As prisoners were being housed in Tarrant County, according to Mr. Brookins,

Gary collapsed in the hallway. Mr. Brookins, when using the word “collapsed,” means that Gary

experienced a kind of faint. Gary slowly fell. He was kind of conscious but off guard a little bit,

or off-task. Mr. Brookins saw Gary sitting in the hallway leaning against the wall, and holding his

chest. Mr. Brookins could not tell if Gary was panting. Mr. Brookins heard Gary say, more than

once, “I need some water. My equilibrium is off balance.” It appeared to Mr. Brookins that Gary

did not have the energy to hold himself up.

         20.      Mr. Brookins heard Sergeant York say to Gary, “Lynch, get up. We don’t have

time for your B.S.” Sergeant York said as much even though the people closest to Gary were

saying things like, “He’s not playing;” “He needs some water;” and “He’s serious.” Jail staff,

including Sergeant York, did not act like it was a medical emergency, but instead picked Mr. Lynch

up and put him into an empty cell. Upon information and belief, Sergeant York did nothing at that

time, or later, to obtain obvious needed life-saving medical treatment for Gary. Further, upon

information and belief, when looking at Gary, Sergeant York knew that Gary needed immediate

medical treatment for a serious medical issue.

                            c.       Cole, Eugene – Inmate
         21.      Eugene Cole was incarcerated at the Hunt County jail for at least a portion of the


Plaintiff’s Original Complaint – Page 13 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 14 of 73 PageID 14



time period when Gary was incarcerated, and he was present when Gary died. He heard Gary

breathing hard and moaning in pain. About 30 minutes afterward, Mr. Cole heard one long breath

of air from Gary and observed Gary’s last movements before death. He recalls Medical Officer

Landers and other officers coming to the cell.

         22.      Mr. Cole recalls that, when they slept in that same cell, one bunk or so apart, that

Gary would make noises in his sleep every night. He would ask Gary if he was alright. Mr. Cole

also “use to tell every nurse and officer that worked over on NE Hallway something was wrong

with Mr. Lynch.” Upon information and belief, Individual Defendants were included in that group

of people. Further, upon information and belief, there were other Hunt County employees who

worked on NE Hallway, where Gary was incarcerated, who were also aware of Gary’s serious

medical condition.

         23.      Mr. Cole also thought that “[t]hey did not care.” Upon information and belief, he

had that thought because Hunt County employees and representatives failed and refused to respond

to the repeated requests for medical treatment. The facts leading to Gary’s death are a classic

single-incident liability pattern. The number of people who knew about Gary’s serious medical

condition, and who likewise failed and refused to do anything, demonstrates a policy, practice,

and/or custom of Hunt County of failing and/or refusing to provide needed medical care to inmates.

         24.      Gary was always telling Mr. Cole “and everyone else” that his heart and chest were

hurting. Mr. Cole also wrote:

         Every jailer I told did not give a damn about Mr. Lynch. They always blew it off
         talking about he will be alright. And the nurses to [sic]. If they cared they would
         have helped him when he told them he was hurting. On[e] time Mrs. Landers
         (nurse) told me to look after him which I did the best I can. But I told her look you
         wrong. And the head nurse even told me to keep an I [sic] on him.

Upon information and belief, Mr. Cole was referring to Defendant Jana R. Campbell. Mr. Cole




Plaintiff’s Original Complaint – Page 14 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20               Page 15 of 73 PageID 15



also said that Gary would not “eat for days sometimes,” and “complained about his heart all the

time.”

         25.      Texas Ranger Laura Simmons interviewed Mr. Cole regarding Gary’s death. Mr.

Cole told Ms. Simmons that Hunt County jail personnel “treated [Gary] like a dog.” Mr. Cole said

that he notified Ms. Landers (a nurse), Ms. Wells (a nurse), Officer Perdue, and Officer Camp.

Upon information and belief, these people were aware of Gary’s serious medical condition, as

communicated to and observed by them, but they failed to take any action to obtain needed

emergency medical treatment for Gary away from the jail. Mr. Cole indicated that Officer Camp

was the one that took Gary to court, and Gary was not able to go due to hurting so badly. Mr. Cole

said that Ms. Wells pulled Gary out of the cell, ultimately bringing him back and indicating that

his blood pressure was low and that Mr. Cole needed to keep an eye on him. Mr. Cole said to Ms.

Wells, “If his blood pressure low don’t you think you need to do something?” It appears that the

Hunt County jail was one in which it was expected that inmates would care for each other, rather

than competent medical personnel caring for them. However, Gary needed medical personnel in

an emergency department of a local hospital to care for him.

         26.      Mr. Cole also told Ranger Simmons that Gary was showing that he needed medical

help for a lengthy period of time, and that he had not eaten for days. He said that Gary was having

chest and left arm pain from the time he arrived. Upon information and belief, Individual

Defendants knew or had heard of such issues. Upon information and belief, Individual Defendants,

and others who worked with them, worked in a small enough workforce such that they would

discuss with each other issues with inmates, such as Gary.

         27.      Mr. Cole also told Ranger Simmons that Gary was called out for a blood pressure

check. Gary was unable to even exit his bunk, and Mr. Cole told Ms. Landers, “Miss Landers he




Plaintiff’s Original Complaint – Page 15 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 16 of 73 PageID 16



can’t even get off the bunk.” She responded, “Who is it?” Mr. Cole said, “That’s Lynch the one

you need to blood pressure.” Mr. Cole said that there was a blood pressure check sheet for Gary

on the log on the cart, but that medical personnel did not even enter the cell. He indicated that Ms.

Landers “just wrote it off like he didn’t even want his blood pressure checked.” Upon information

and belief, blood pressure check sheets included false entries. Such entries were designed to mask

the deliberate indifference and objective unreasonableness of medical personnel, such as, upon

information and belief, Ms. Campbell, Ms. Landers, and/or Ms. Wells, charged with caring for

Gary.

         28.      Mr. Cole also said, regarding Officer Perdue, that he asked Officer Perdue to come

to see what was wrong with Gary. He said that he told Officer Perdue, “This man is here hurting.”

Officer Perdue responded, “Well, I’m going to check on it right now.” Officer Perdue asked Mr.

Cole what was wrong with Gary, and Gary responded, “Man, I been trying tell them I need some

help, I’m sick, my chest has been hurting, I can’t get out of the bunk . . . .” Officer Perdue said

that he was going to go down and Get Gary a bottom bunk and do one or more other things.

However, according to Mr. Cole, Officer Perdue never did that and/or anything else for Gary.

Upon information and belief, Officer Perdue was aware of Gary’s serious medical condition and

chose to do nothing about it.

         29.      At another point during his statement to Ranger Simmons, Mr. Cole indicated that

Ms. Wells said that they would check Gary’s blood pressure. At that time, Mr. Cole said that,

when Gary was brought back, Mr. Cole was told, “Look Cole, his blood pressure is low, can you

please keep an eye on him?”

         30.      Mr. Cole also said that, on another occasion, he told Officer Marriott, “This man in

here, his name Lynch, he been hurting and complaining about he been . . . need some help.” The




Plaintiff’s Original Complaint – Page 16 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                 Page 17 of 73 PageID 17



officer responded, “Ah, they already know about him.” Mr. Cole asked Ranger Simmons, if they

already knew about him, why didn’t they do anything for him?” He also said, “And just like they

blew it off.” Upon information and belief, the statement that “they” already knew about Gary’s

serious medical problems was further support that Individual Defendants, and more than likely

other individual employees of Hunt County, knew that Gary needed medical treatment away from

the jail but chose not to do anything about it.

         31.      Mr. Cole also described to Ranger Simmons the incident involving Sergeant York

in Tarrant County. He said that Gary was sitting on the ground, and his eye was red. Mr. Cole

said, “Man that’s messed up, don’t look right, what’s wrong?” Then Sergeant York “grabbed

Lynch up and swung him around, he’s like, ‘Come on Lynch.’” Mr. Cole’s response was “like

dang why they doing him like this, the man said he’s sick, he can’t walk, he hurting.” He and

other inmates just shook their heads. Thus, it was apparent to Sergeant York that Gary needed

immediate medical attention. Instead of obtaining that attention, upon information and belief, he

simply put Gary into a cell.

         32.      He also said that Gary had not been eating for several days, even before they were

all taken to Tarrant County after the gas leak. He said that he saw a nurse check on Gary

approximately two times the entire time he would have been able to make such observations. Mr.

Cole only saw Gary leave the cell once to visit a nurse, and once when he was out for a visit. Upon

information and belief, this was a visit with Gary’s mother the Sunday or so prior to Gary’s death.

Further, upon information and belief, at the time of that visit, it was apparent to one or more

Individual Defendants that Gary needed immediate medical treatment away from the jail – at an

emergency department of a local hospital. It is clear that a local hospital was available, based upon

references to that hospital in other Hunt County jail deaths mentioned in this pleading below.




Plaintiff’s Original Complaint – Page 17 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                 Page 18 of 73 PageID 18



                            d.       Grigsby, Donald R. – Inmate
         33.      Inmate Donald R. Grigsby gave a statement to Ranger Simmons related to Gary’s

death. He stated, regarding Gary, “That man has been complaining about his shoulder was out of

place, and he couldn’t get up he was dizzy and stuff like that. None of the guards would help him.”

Upon information and belief, that included more than one of Individual Defendants, who knew

about Gary’s physical issues including being dizzy. He said that Gary was constantly moaning –

every night. He also said, “And then it got to a point to where it got bad you know what I’m

saying. I’m like I got to do something because this man is moaning. They never pulled him out.

They wouldn’t take him. This man had a visitor couldn’t make it to his visit.” He also said that

Gary did not eat for a period of time, which he estimated to be two weeks. He further said that,

even though Gary needed his blood pressure checked, jail employees would not give him a blood

pressure check. He said that Gary wouldn’t get out of his bunk for weeks. He said he wouldn’t

get up, and he wouldn’t eat. He also said that, when they had returned from Tarrant County, Gary

collapsed by a wall. He said that jail officials “snatched him up” and brought him back to his cell.

Mr. Gray said that Gary said to them, “Man I can’t, I’m sick. I need some help.” Mr. Grigsby

said that they would not help him and just put him into the cell. Upon information and belief, such

people included one or more Individual Defendants.

         34.      Mr. Grigsby was present when Gary died. He said that people in the cell started

yelling, “Y’all need to get down here, this man is dead!” His recollection was that it took

approximately 10, 15, or 20 minutes for jail personnel to arrive at the cell. He also said, “But all

of this could have been avoided if they would’ve helped him a long time ago.” He said that Gary

was “complaining from day 1.” Without knowing it, Mr. Grigsby was describing legal deliberate

indifference and objective unreasonableness.

         35.      Mr. Grigsby also said that “we” told jail officials to check on Gary a few times.


Plaintiff’s Original Complaint – Page 18 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                 Page 19 of 73 PageID 19



Upon information and belief, this included at least several of Individual Defendants. Mr. Grigsby

was so shaken by the situation with Gary that he said, “That’s why I’m kinda to be honest with

you I’m scared of my life being in the jail house. Because what if something happens to me and I

need help and they don’t help me.”

                            e.       Hobdy, Lee Clinton – Inmate
         36.      Ranger Simmons also interviewed Lee Clinton Hobdy. Mr. Hobdy indicated that

he had been in the cell with Gary. He said that Gary was complaining about medical problems

from the time he came into the cell. He said, “[W]e advised every officer and every nurse that was

available at the time that, that was either at night time or day shift.” He said that cellmates were

told that they were going to take care of Gary. This occurred before the transfer to Tarrant County,

but apparently no one moved Gary to a different bunk and/or provided medical treatment to him.

         37.      Mr. Hobdy said that, on the day everyone came back from Tarrant County, Friday,

Gary was pulled out last. Gary sat down on the wall by the door and complained to jailers that he

was not feeling well. When Mr. Hobdy and Gary rode back from Tarrant County, Gary sat behind

Mr. Hobdy and to his left. Gary kept putting his head down and seemed like he was very sick.

Gary complained to jailers and/or medical personnel the night before the day he died, but was

apparently unable to “give much of a fight to make them press the issue about getting him medical

attention.” Gary was a prisoner, and “he really couldn’t refuse the orders.”

         38.      When Gary was sitting on the floor, visibly ill, when he and others had returned

from Tarrant County, a jailer “jerked him up and told him, ‘come on.’ The jailer pretty much

forced Gary into the cell. Gary died the next morning.

         39.      Gary complained during his incarceration about headaches, being nauseated, and

felling dizzy. Upon information and belief, such complaints were heard and/or known by

Individual Defendants.           Mr. Hobdy knew that Gary had low blood pressure as did, upon


Plaintiff’s Original Complaint – Page 19 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 20 of 73 PageID 20



information and belief, all Defendants.

         40.      Mr. Hobdy also said that Gary had not eaten any of his meals in several days. He

also said that people in Gary’s cell would tell jail representatives that Gary was not eating. They

would tell such jail representatives that they needed to do something with Gary. This had been

going on since Gary had initially been incarcerated in Hunt County.

         41.      Moreover, Mr. Hobdy indicated that Gary had apparently not showered in quite

some time. He never saw Gary get in the shower until the day that Gary died. When they left

Tarrant County, Mr. Hobdy thought to himself, “Oh my god, this dude hasn’t showered.” He said

that he could easily smell Gary’s body odor. Upon information and belief, Individual Defendants

likewise recognized that Gary had not showered, was ill, and/or was not eating. Mr. Hobdy said

that they had spoken for some time about Gary’s issues to both of the night shift nurses, and

officers including an officer whose name starts with a “P,” who is a heavy-set guy. Upon

information and belief, that may have been Officer Kolbee Perdue. They were asked to get Gary

medical attention, and a lower bunk, but nothing was done in response. Mr. Hobdy said the head

nurse had been also refusing to provide medical treatment and “she always denies them from going

to the hospital seeking medical.” Upon information and belief, this was Ms. Campbell. Mr. Hobdy

indicated that this was an issue with other inmates as well. Mr. Hobdy said, “. . . that was my

biggest concern with hearing him voice that. I was like, well nah they put him in here and knew

he had medical problems but didn’t put him in a place where he could be observed to keep him

from being in the situation he’s in now.”

                            f.       Hunter, Robert T. – Sergeant (Badge No. 3821)
         42.      Sergeant Robert T. Hunter provided a statement related to Gary’s death. The

statement indicated that other involved officers were Sergeant Leevey, Officer Bixler, Officer

Briggs, Medical Officer Landers, Officer Norris, Officer Lewis, and Officer T. Roberson.


Plaintiff’s Original Complaint – Page 20 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 21 of 73 PageID 21



Sergeant Hunter wrote that, on February 23, 2019, at approximately 11:18 a.m., he was standing

in the 269/277 vestibule holding a door open so that he and others could move inmates that had

retuned from the Tarrant County jail. He overheard a radio call for medical to respond to Northeast

Cell 319. Sergeant Hunter responded to the cell, because he was the Sergeant-on-duty for the jail

that day. Lieutenant Stroud relieved Sergeant Hunter from covering the door, so that he was able

to go to Northeast Hallway.

         43.      When Sergeant Hunter entered Cell 319, he saw Officer Bixler standing at Gary’s

bunk. He saw Officer Bixler performing a sternum rub on Gary’s chest. He also saw that Gary

was not responsive to the sternum rub. Sergeant Hunter then ordered Officer Bixler to assist

Sergeant Hunter with moving Gary’s body off of the top bunk and onto the cell floor. Officer

Lewis was unable to locate a pulse, and Sergeant Hunter could not see any movement in Gary’s

chest. Ultimately, the AED was applied and turned on, but did not indicate that a shock would be

appropriate. Paramedics ultimately arrived, but Gary had died.

         44.      Upon information and belief, Gary had been deceased for quite some time. Further,

Gary could have been saved if one or more Individual Defendants would have acted sooner. The

illness which caused Gary’s death was curable, and there were signs of that illness for days before

he died. Individual Defendants ignored those signs, as related by witnesses referenced in this

pleading, and were thereby deliberately indifferent to Gary’s serious medical issues and acted in

an objectively unreasonable manner.

                            g.       Jones, Roger Junior - Inmate
         45.      Ranger Simmons also interviewed inmate Roger Jones regarding Gary’s death. He

said that Gary began complaining the day he got to the jail about hardly being able to breathe. Mr.

Jones said that Gary “just really couldn’t breathe.” He also said that Gary was constantly

complaining to the nurse. Upon information and belief, this was a reference to Ms. Campbell, Ms.


Plaintiff’s Original Complaint – Page 21 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 22 of 73 PageID 22



Landers, and/or Ms. Wells. Mr. Jones further said that the night before Gary died, Mr. Jones told

the nurse, “He’s having a hard time breathing.” Mr. Jones said, “She didn’t pay it no attention.

She went on back down the hall down there.” Gary died the next morning, and Gary’s life could

have been saved if Individual Defendants had taken action by obtaining medical treatment for

Gary.

         46.      Mr. Jones said that Gary and “we” had been complaining to the nurses and they just

would not, upon information and belief, do anything. He said that “every one of them, everyone

we told” would not do anything. He even said that there was a piece of cloth hanging over the

window to the cell. He also said, “If they had walked off in there [the cell], when we first went to

complaining and hollering at them, they could’ve saved [Gary’s] life.” Mr. Jones also said, “It’s

cruel. To me it’s cruel, not just punishment.” Mr. Jones was correct in his layperson’s view of

the unconstitutional punishment which Gary was forced to suffer. Mr. Jones also said that he was

upset because of the way they were handling Gary. In fact, they were all upset. Mr. Jones further

confirmed that Gary moaned all night, apparently in pain.

         47.      Mr. Jones said that Mr. Jones had been in various jails over a period of time, had

the experience of jailers doing cell checks by actually entering a cell and doing a head count. Mr.

Jones said, “They don’t do that here [in Hunt County].” Thus, upon information and belief, jailers

would not go in and check on Gary, even though they knew he had serious medical issues. They

would just very briefly glance through a window to the cell. Mr. Jones said, “I hate that it

happened, it didn’t need to happen, you know like I said. They came in that night, they could have

probably saved him. That morning, he was, he was gone.” He said that the nurses that night were

the same nurses that went to Tarrant County and then returned to Hunt County.

                            h.       Landers, Helen M. – Medical Officer (Badge No. 3704)
         48.      Medical Officer Helen M. Landers wrote that, at 11:31 a.m. on February 23, 2019,


Plaintiff’s Original Complaint – Page 22 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                      Page 23 of 73 PageID 23



she was called to go to NE Hall over the radio by Officer Braggs. Inmates in Gary’s cell – NE 319

– were sitting on the table and chairs pointing and yelling at Gary. They started yelling, “He’s

died!” Medical Officer Landers put on a glove and stepped on the bottom bunk to reach up and

check for Gary’s pulse. Gary was cold to the touch. He also had dried saliva around his mouth.

He was unresponsive when Medical Officer Landers called his name. Upon information and

belief, Gary had been deceased for quite some time. Further, upon information and belief, those

Individual Defendants on duty at the time could have checked on Gary much earlier and saved his

life by obtaining needed emergency medical treatment.

           49.    Medical Officer Landers then called a Code Blue over the radio, requesting other

officers to respond. Officer Bixler and Officer Lewis were the first two officers to respond to Tank

319. Medical Officer Landers wrote, “At 7:24 a.m., Inmate Grigsby, Donald came out to get his

medicine and said to Officer Teri Robinson ‘Y’all need to move Inmate Lynch because he was

making up too much noise and was talking (shit)’ and Inmate Grigsby could not sleep. He then

said, ‘If y’all don’t do something, I will.’” Upon information and belief, this was likely the last

notice, after a lot of notice regarding Gary’s issues over a number of days, regarding Gary’s deathly

illness.

                            i.       Leevey, Roy D. – Sergeant (Badge No. 2725)
           50.    Sergeant Roy D. Leevey responded to a “Code Blue” involving Gary, on February

23, 2019, in Cell/Tank 319. Sergeant Leevey wrote in his statement that he entered the cell after

Officers Hunter and Bixler. He helped with moving Gary’s body from the top bunk to the floor,

so that CPR could begin. He also ordered others, presumably inmates, to leave the cell.

                            j.       Parker, Antonio Dimitri – Inmate
           51.    Inmate Antonio Parker also provided a statement to Ranger Simmons regarding




Plaintiff’s Original Complaint – Page 23 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 24 of 73 PageID 24



Gary’s death. He said that he had been in the same cell as Gary for the relevant time period. Mr.

Parker said that Gary had complained about his chest, his head, and his shoulder. He said that

“everybody” was “telling the nurses.” He said that the nurses “wouldn’t even help him.” Mr.

Parker said that nurses would not even come into the tank to check Gary’s blood pressure. He said

that he and his cellmates were telling the nurses about Gary for a couple of weeks, and that nobody

would take Gary to see the nurse. Upon information and belief, “the nurses” referred to Ms.

Campbell, Ms. Landers, and/or Ms. Wells.

         52.      Mr. Parker also said that Gary would not eat for weeks. He said that they told jail

staff that Gary was not eating. He further said that people in Gary’s cell would push the button on

the intercom and tell jail personnel that Gary needed medical attention, and that this occurred

before prisoners were moved to Tarrant County. Upon information and belief, references to staff

in this paragraph are references to more than one of Individual Defendants.

         53.      Mr. Parker also noticed, when Gary returned from Tarrant County, that Gary’s eyes

were a yellow color. Gary told one or more jailers and/or medical people that he needed help.

Gary’s eyes were so yellow that Mr. Parker and a cellmate called Gary “Yella.” Even so, nobody

came in to check on Gary, or take his blood pressure. When Gary complained about his chest, he

complained that he could barely breathe. One time, when Gary was called for court, he was

sweating profusely. Gary also could not walk. Even so, jailers and/or nurses refused to provide a

wheelchair to him. Mr. Parker said that “all of them” knew of Gary’s issues. Upon information

and belief, “all of them” referred to at least several Individual Defendants. Upon information and

belief, both Officer Robinson and Medical Officer Landers knew that the sounds Gary was making

were due to serious medical issues he was having, and for which he had needed emergency medical

treatment for quite some time.




Plaintiff’s Original Complaint – Page 24 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                    Page 25 of 73 PageID 25



         54.      Mr. Parker said, “We kept telling the nurse he need some attention.” The response

would typically be that Gary would be alright. They would then refuse to provide any medical

treatment to Gary and/or have him taken to a local hospital emergency room for needed medical

treatment. Mr. Parker said that there is a difference between a medical officer and a nurse, and

that a medical officer wore a suit. Mr. Parker said that Gary’s cellmates told the nurses and the

floor officer, which were different people who changed over time.

                            k.       Robinson, Teri J. – (Badge No. 3337)
         55.      Officer Teri J. Robinson wrote a report related to Gary’s death. She indicated that,

on February 23, 2019, at approximately 7:24 a.m., Officer Robinson was escorting Medical Officer

Landers around the NE Hallway while she (Medical Officer Landers) passed meds. They were at

Tank 319, and Inmate Grigsby came out to receive his meds. While he was out, he stated to

Medical Officer Landers and Officer Robinson that they needed to get “that guy” (Gary) out of the

tank because he was “making noises,” and it was keeping him awake. Mr. Grigsby said that he

was tired of it and wanted Gary moved. He further said the noises sounded like Gary was “having

sex,” which was the best way he could describe the sounds. Officer Robinson told Mr. Grigsby

that Officer Robinson was not going to move an inmate who was snoring or moaning in his sleep.

However, upon information and belief, Officer Robinson knew that Gary was not simply just

snoring or moaning in his sleep, as a healthy person might, but instead had serious medical issues

that had been communicated to Individual Defendants.

         56.      Officer Robinson further wrote that she conducted floor checks at 8:20 a.m., 9:03

a.m., 9:35 a.m., 10:00 a.m., 10:28 a.m., and 10:54 a.m. “without incident.” However, upon

information and belief, “floor checks” constituted nothing more than pulling back a curtain and

briefly glancing through a window into Cell 319. Some such cell “checks” lasted approximately

2-3 seconds. They did not include actually observing inmates face-to-face. Moreover, since Gary


Plaintiff’s Original Complaint – Page 25 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                    Page 26 of 73 PageID 26



was on the last upper bunk at the back of the cell, upon information and belief, he could not be

sufficiently viewed by anyone conducting such a cursory cell check. The person would need to

actually enter the cell, walk to the back of the cell, and observe Gary. This was deliberate

indifference in light of the fact that, upon information and belief, Individual Defendants knew of

Gary’s serious medical issues and choose not to enter the cell and take any action.

         57.      Officer Robinson also wrote that, at approximately 11:32 a.m., Officer Landers

called a Code Blue in Tank 319. This Code Blue was due to Gary dying. Officer Robinson wrote,

“The other inmates in tank 319 (including I/M Grigsby) were moved to the NE rec yard. While

I/M Grigsby passed by me I could hear him saying that this was our fault because he told us there

was a problem and we did nothing about it.” Officer Robinson further wrote that neither Mr.

Grigsby nor other inmates in the tank ever told Officer Robinson (“us”) he/they felt like Gary

needed medical assistance. Officer Robinson further said there were no issues in Tank 319 until

medical was called to check on Gary at the time of his death. Upon information and belief, these

last statements by Officer Robinson were false and made as a defense to the cause of Gary’s death.

                            l.       Smith, Jerome Antwone – Inmate
         58.      Inmate Jerome Antwone Smith indicated that Gary was ill from the time he arrived

at the jail. He would not eat, and he also complained that he could not stand up for very long and

that his blood pressure was low. Mr. Smith also said, “He didn’t get out the bunk never.” He

further said that when Gary came back from court, he got right back into his bunk and couldn’t eat

because he was hurting. This was true even before the transfer to Tarrant County. Gary would

moan all night, and he ultimately died in the bunk right next to Mr. Smith.

         59.      Mr. Smith also said that Gary had great difficulty going to a jail visit with his

mother due to his illness and having to stay in his bunk all the time. Mr. Smith also said that the

time that Gary went to visit the nurse’s office, he came back after approximately 30 minutes. He


Plaintiff’s Original Complaint – Page 26 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 27 of 73 PageID 27



said that people were always telling floor officers and nurses to come to the cell. Upon information

and belief, this included the majority of Individual Defendants. Mr. Smith believes that they

should have taken Gary to the hospital. The jail should have done so when they first found out

that Gary was not eating. Plaintiff agrees with Mr. Smith and asserts that Individual Defendants

should have ensured that Gary was taken to a local hospital for emergency medical treatment. He

also said that the people in the cell told floor officers that Gary was not eating, so there was no

doubt that they did not know.

                  3.        Death Reports

                            a.       Autopsy – Dallas County Medical Examiner
         60.      Justice of the Peace Wayne Money, Precinct 1, Place 1, in Hunt County, requested

an autopsy. The autopsy was conducted at the Southwestern Institute of Forensic Sciences at

Dallas, Office of the Medical Examiner. Chief Deputy Medical Examiner Tracy J. Dyer signed

the autopsy report. Dr. Dyer, noting that Gary was found unresponsive in his bunk, without

trauma, concluded that Gary died as a result of aortic valve endocarditis with myocardial abscess.

In conjunction with that conclusion, which was also listed as a finding, Dr. Dyer noted:

         a.       Cardiac hypertrophy (770 g);
         b.       Aortic valve vegetation;
         c.       Extensive abscess formation with necrosis in the interventricular septum;
         d.       Focal associated phenomena; and
         e.       Associated pleural and pericardial effusions.
Upon information and belief, had Gary received medical care at any juncture at which he or

someone on his behalf had complained to one or more Individual Defendants, Gary would have

lived and not been forced to undergo the pain and suffering he experienced for days before his

death. The medical issue causing Gary’s death was curable, and had he been taking to a local

emergency room, he would have received appropriate treatment and lived. Instead, Individual




Plaintiff’s Original Complaint – Page 27 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 28 of 73 PageID 28



Defendants’ failure to do anything for Gary resulted in a death sentence for a pretrial detainee, and

significant unnecessary pre-death suffering.

                            b.       Inmate Death Reporting Form – Hunt County Sheriff’s Office
         61.      The Hunt County Sheriff’s Department filed an Inmate Death Reporting Form with

the Texas Commission on Jail Standards. Captain Tammy Sherman completed the form. The

form indicated that Gary was booked in at 4:35 p.m. on February 12, 2019, and that he died at

11:57 a.m. on February 23, 2019. It also indicates that the last face-to-face contact with Gary was

at 10:54 a.m., although Captain Sherman describes it as just a “visual observation.” A “very brief

visual observation of the cell through a window, and no specific face-to-face observation of Gary,”

would be a more accurate description. Captain Sherman wrote that inmates in the cell found Gary,

deceased. Captain Sherman also wrote:

         Last visual observation of the inmates in the cell was made at 10:54 am by Officer
         Teri Robinson, Inmates in cell 319 called the control room at 11:18 am requesting
         assistance. Officers immediately responded and found inmate Lynch unresponsive
         on the top bunk. They removed inmate Lynch from his bunk and moved him to the
         floor on a mat. CPR was started immediately with the help of AED. 911 was called
         and AMR arrived at 11:27am. They loaded him on the stretcher and continued CPR
         efforts all the way out the door of the jail and to the hospital where inmate Lynch
         was pronounced dead at the hospital at 11:57 am.

The “visual observation” purportedly made by Officer Robinson was nothing more than a glance

through a window into the cell. Gary was at the back of the cell, on a top bunk, and could not be

easily seen by such a glance through the window. There were eight inmates in the cell, and they

could not be properly observed, to be sure that they were healthy and not in need of medical care,

through such a glance. Upon information and belief, this type of purported “check” was consistent

with Hunt County policy, practice, and/or custom. Nevertheless, an individual, such as any

Individual Defendant is not excused from his or her obligation to comply with the United States

Constitution simply because his or her employer chooses to have a policy, practice, and/or custom



Plaintiff’s Original Complaint – Page 28 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 29 of 73 PageID 29



which violates the Constitution.

                            c.       Inquest Report – Judge Money
          62.     An inquest was performed by Justice of the Peace Wayne Money. Judge Money

generated a brief report as a result. He (or someone on his behalf) wrote that Gary was an inmate

at the Hunt County jail, in Cell Number 319. Gary was on the top bunk and would not “wake up.”

Officers Hunter and Bixler removed Gary from the bunk and put his body onto the floor. They

were unable to obtain a pulse, and the AED reported that a shock was not advised. Upon

information and belief, this was due to officers waiting far too long after being notified of Gary’s

illness to take any action.

          C.      Investigation by Hunt County Sheriff’s Department

          63.     Hunt County Sheriff’s Office conducted an investigation regarding Gary’s death,

and it generated reports and other documents as a result. Documents indicate that Gary was booked

in on February 12, 2019, and that he died 11 days later on February 23, 2019. He had been arrested

without incident, “peacefully,” due to an outstanding warrant, and he was sober at the time of

arrest.

          64.     A floor log dated February 22, 2019, for Floor Officer Carrera, indicates a number

of alleged visual observations beginning at 9:38 p.m. and concluding at 4:44 a.m., presumably on

February 23, 2019. One entry, for 1:30 a.m. on February 23, 2019, indicates that Tank 319 was

“fed.” The log also indicates that there were 8 inmates in Cell 319, on the Northeast Hall/Pod.

          65.     A floor log for February 23, 2019, beginning at 5:30 a.m., once again lists a number

of visual observations. That floor log indicates as floor officers Carrera (#3814) and Robinson

(#3337). Neither log indicates anything regarding what happened to Gary or anything regarding

Gary’s serious, deadly condition or requests for needed health care.




Plaintiff’s Original Complaint – Page 29 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                    Page 30 of 73 PageID 30



         66.      One document, entitled “Officers who Supervised Inmate Lynch’s hallway [sic]”

lists the following information:


                  Date                  Days/Nights               Officer/Comments

               02/13/2019                   Days                        Marriott
               02/13/2019                   Nights                  Robrecht/Brown
               02/14/2019                   Days                        Marriott
               02/14/2019                   Nights                       Castro
               02/15/2019                   Days                       Westbrook
               02/15/2019                   Nights                     Edmiston
               02/16/2019                   Days                        Swatsell
               02/16/2019                   Nights                        Adair
               02/17/2019                   Days                        Swatsell
               02/17/2019                   Nights                     Edmiston
               02/18/2019                   Days                      Klein/Palmer
               02/18/2019                   Nights                   Brown/Stailey
               02/19/2019                   Days                     Brown/Marriott
               02/19/2019                   Nights         Moved to Tarrant County, Brown,
                                                                     Castro, Stailey
               02/20/2019                   Days              Marriott, Goble, Westbrook
               02/20/2019                   Nights               Castro, Brown, Stailey
               02/21/2019                   Days           Castro, Marriott, Westbrook, Goble
               02/21/2019                   Nights                  Can’t find the log
               02/22/2019                   Days                    Can’t find the log
               02/22/2019                   Nights         Carrera – moved back from Tarrant
               02/23/2019                   Days                     Teri Robinson


         67.      Hunt County records indicate that the following people were inmates housed in the

same cell as Gary:

                            •    Brown, Adolphus
                            •    Cole, Eugene
                            •    Grisby, Donald R.
                            •    Hobdy, Lee Clinton
                            •    Jones, Roger Junior
                            •    Parker, Antonio Dimitri
                            •    Smith, Jerome Antwone




Plaintiff’s Original Complaint – Page 30 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 31 of 73 PageID 31



         68.      Floor logs for the time period Gary was incarcerated at the Hunt County jail provide

little useful information regarding what was actually observed and/or done – if anything. They

primarily indicate that visual observations were made at certain times.             Moreover, upon

information and belief, those visual observations involved nothing more than looking into the

window of the multi-person cell in which Gary was incarcerated. Gary was at the back of that cell,

on a top bunk, and, upon information and belief, could not be appropriately viewed through such

cursory observation.

         69.      Upon information and belief, Sergeant Jeff Haines with Hunt County Sheriff’s

Office Professional Standards conducted an investigation into Gary’s death. He provided a written

warning to Ms. Campbell, in an Administrative Investigation Warning document dated April 16,

2019. Sergeant Haines also, in writing, instructed Medical Supervisor Jana Campbell to respond

in memo form regarding medical documentation for Gary. Sergeant Haines wrote, “Specifically,

the concerns regarding the ‘Blood Pressure Check Sheet’ and which staff members made

documentations. The ‘CCQ’ documentation and whether or not Transicare had been notified and

if not why.” Medical Supervisor Campbell was instructed to return to the memo no later than noon

on April 22, 2019.

         70.      A three-page document entitled “Paperwork Questins [sic]/Observations,” upon

information and belief drafted by Sergeant Haines, noted a number of issues which showed

Individual Defendants’ deliberate indifference and objective unreasonableness. Sergeant Haines

noted that Gary’s medical records show that he was prescribed Toradol, but medical infirmary

documents showed no medications. Calculations done by Sergeant Haines show that Gary would

have finished his Toradol prescription before arrest. Sergeant Haines also noted that Gary was not

admitted to the jail with an inhaler.




Plaintiff’s Original Complaint – Page 31 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 32 of 73 PageID 32



         71.      Sergeant Haines also noted the tip of the iceberg regarding serious issues regarding

medical documentation about Gary, beginning with the Blood Pressure Check form. No blood

pressure readings or checks were entered for February 23, 2019, the date Gary died, even though

medicine had allegedly been passed out that morning to Gary’s cell. One clearly false entry was

made for February 24, 2019 at 7:30 a.m. – the day after Gary died – indicating that Gary allegedly

refused a blood pressure check. That entry appears to have been for or by Officers with Badge

Numbers 3704 (Ms. Landers) and 3337 (Ms. Robinson).




Plaintiff’s Original Complaint – Page 32 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20             Page 33 of 73 PageID 33




Upon information and belief, other portions of the above-referenced form contained false

information. Further, upon information and belief, no form was provided to Plaintiff’s counsel’s



Plaintiff’s Original Complaint – Page 33 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 34 of 73 PageID 34



office in response to Public Information Act Request, pre-suit, which provided any purported blood

pressure readings and/or checks before February 17, 2019.

         72.      Finally, upon information and belief, Gary did not refuse at least several – and

possibly all – blood pressure checks which the above-refenced document indicates he refused.

Upon information and belief, the policy, practice, and/or custom of taking blood pressure checks,

or purporting to take blood pressure checks, of inmates in Gary’s cell constituted nothing more

than rolling a cart to a doorway to a sally port, which was outside of Gary’s cell, and then waiting

and/or calling for inmates who would exit the cell to have their blood pressure checked. Thus,

upon information and belief, there was not even a visual face-to-face request from any jail

employee to Gary as to whether he wanted to have his blood pressure checked. Moreover, upon

information and belief, there was not even a visual pathway available, such that the jail employee

at the cart could see Gary on the top bunk at the back of the cell. Thus, a purported “refusal” by

Gary to a blood pressure in fact constituted a refusal of the jail employee to walk into the cell and

ask Gary directly whether he wanted a blood pressure check. Upon information and belief, this

was Hunt County policy, practice, and/or custom.

         73.      Further, the phrase “did not wake up” in the table above further shows the deliberate

indifference and objective unreasonableness in the manner in which blood pressure checks were

purportedly conducted. If a prisoner “did not wake up,” the prisoner could be deceased or seriously

ill. This is further evidence that Hunt County’s policy, practice, and/or custom of conducting cell

checks and/or blood pressure checks was deliberately indifferent and/or objectively unreasonable.

         74.      Sergeant Haines, upon information and belief, also noted that he could not read the

writing on the intake form for Gary. He also noted that, regarding the incarceration medical

screening form, that there was no date on the document (to prove the date it was completed), and




Plaintiff’s Original Complaint – Page 34 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20               Page 35 of 73 PageID 35



for which time Gary was arrested. He also noted that Question Number 4 was marked “Yes,”

which led him to question what was done in response. The question was, “Do you have any major

medical problems that need to be addressed at this time?” He also wondered by there were only

three pass-down logs for the entire month of February 2019. The pass-down logs were for

February 9, 2019, February 15, 2019, and February 24, 2019. Pass-down logs are important,

because they provide information to other jail officers coming on duty as to what occurred before

their duty time. He even noted that a document indicated that property was released to Gary several

hours after Gary was deceased. Clearly, there were significant problems, and likely fraudulent

entries, on documents related to Gary’s death. Upon information and belief, this was to cover up

the serious deliberate indifference and objective unreasonableness which resulted in Gary’s death.

         D.       Defendants’ Knowledge and Education

         75.      Individual Defendants had sufficient knowledge, training, and/or education to

know that their failure to act regarding Gary’s serious medical issues constituted deliberate

indifference and objective unreasonableness, and moreover violation of the United States

Constitution. Gary’s medical issues were not complicated, and even laypeople would understand

that a person who is experiencing chest pain, dizziness, and weakness should be taken immediately

to a local hospital for potential emergency treatment.

         76.      The Texas Commission on Law Enforcement (“TCOLE”) keeps records of service

histories and training and education of the Individual Defendants and which relate to jailer

activities.    TCOLE records indicate that each of the Individual Defendants had sufficient

experience and/or education to be fully aware that a failure to act reasonably, and/or being

deliberately indifferent, would violate Gary’s rights under the United States Constitution.

         77.      TCOLE records indicate the following service history for Officer Camp:




Plaintiff’s Original Complaint – Page 35 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                         Page 36 of 73 PageID 36



          Appointed            Department                   Award          Service        Service
             As                                                           Start Date     End Date
            Jailer            Hunt County             Jailer License       10/17/14
                             Sheriff’s Office
             Jailer           Hunt County            Temporary Jailer      03/17/14       10/17/14
          (Full Time)        Sheriff’s Office           License


         78.      TCOLE records indicate the following award history for Officer Camp:

                     Award                            Type            Action           Action Date
            Temporarily Jailer License               License          Granted           03/17/14
                 Jailer License                      License          Granted           10/17/14
                  Basic Jailer                      Certificate     Certification       03/02/15
                                                                      Issued

         79.      TCOLE records indicate that Officer Camp received the following training and/or

education which was, upon information and belief, relevant to claims against him in this case:

           Course    Course Title                 Course Course                Institution
             No.                                   Date   Hours
            3517 Suicide Prevention              09/11/18   4           Hunt Co. Sheriff’s Office
                       (not 3501)
            4900    Mental Health                06/11/18      8        Bill Blackwood LEMI of
                  Training for Jailers                                            Texas
            3845          CPR                    10/27/16      4        Hunt Co. Sheriff’s Office
            3830   General First Aid             08/16/16      2        Hunt Co. Sheriff’s Office
                        Training
            3521     The Basics of               09/14/15      8        Bill Blackwood LEMI of
                     Minimum Jail                                                 Texas
                       Standards
            3501  Suicide Detection              11/26/14      8        Hunt Co. Sheriff’s Office
                   and Prevention in
                      Jails (Inter)
            1007  Basic County Jail              10/16/14     96        Hunt Co. Sheriff’s Office
                         Course
            3507    PREA / Inmate                06/24/14      4        Hunt Co. Sheriff’s Office
                    Sexual Assault
                      Prevention
            2086    Jail Extraction              06/17/14      8        Hunt Co. Sheriff’s Office
            3721 County Correction               04/21/14     160       Hunt Co. Sheriff’s Office
                     Officer Field
                        Training




Plaintiff’s Original Complaint – Page 36 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                         Page 37 of 73 PageID 37



         80.       TCOLE records indicate the following service history for Officer Campbell:

          Appointed            Department                   Award          Service        Service
              As                                                          Start Date     End Date
            Jailer            Hunt County             Jailer License       04/28/17
         (Full Time)         Sheriff’s Office
            Jailer            Hunt County            Temporary Jailer      04/01/17       04/28/17
         (Full Time)         Sheriff’s Office           License


         81.       TCOLE records indicate the following award history for Officer Campbell:

                       Award                          Type              Action         Action Date
               Temporary Jailer License              License            Granted         04/01/17
                   Jailer License                    License            Granted         04/28/17

         82.       TCOLE records indicate that Officer Campbell received the following training

and/or education which was, upon information and belief, relevant to claims against her in this

case:

           Course    Course Title                 Course Course                Institution
             No.                                   Date   Hours
            3517 Suicide Prevention              09/13/18   4           Hunt Co. Sheriff’s Office
                      (not 3501)
            4900    Mental Health                04/05/18      8        Bill Blackwood LEMI of
                  Training for Jailers                                            Texas
            1007  Basic County Jail              04/27/17      96       Hunt Co. Sheriff’s Office
                        Course
            3737  New Supervisor’s               02/22/17      24      Collin County Community
                        Course                                          College District – LEA


         83.       TCOLE records indicate the following service history for Officer Landers:

          Appointed            Department                   Award          Service        Service
              As                                                          Start Date     End Date
             Jailer           Hunt County             Jailer License       10/18/17      11/29/19
          (Full Time)        Sheriff’s Office
             Jailer           Hunt County            Temporary Jailer      11/06/16       10/18/17
          (Full Time)        Sheriff’s Office           License


         84.       TCOLE records indicate the following award history for Officer Landers:




Plaintiff’s Original Complaint – Page 37 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                         Page 38 of 73 PageID 38



                       Award                          Type            Action           Action Date
               Temporary Jailer License              License          Granted           11/06/16
                   Jailer License                    License          Granted           10/18/17
                    Basic Jailer                    Certificate     Certification       10/22/17
                                                                      Issued

         85.       TCOLE records indicate that Officer Landers received the following training and/or

education which was, upon information and belief, relevant to claims against her in this case:

           Course     Course Title                Course Course                Institution
             No.                                   Date   Hours
            3517 Suicide Prevention              09/11/18   4           Hunt Co. Sheriff’s Office
                       (not 3501)
            4900     Mental Health               06/12/18      8        Bill Blackwood LEMI of
                  Training for Jailers                                            Texas
            1007   Basic County Jail             10/12/17     96        Hunt Co. Sheriff’s Office
                         Course
            2086     Jail Extraction             08/08/17      8        Hunt Co. Sheriff’s Office
            3721 County Correction               01/31/17     160       Hunt Co. Sheriff’s Office
                      Officer Field
                        Training
            3930    Ethics – General             01/17/17      1        Hunt Co. Sheriff’s Office
                  In-Service Training
            3507    PREA / Inmate                07/17/17      3        Hunt Co. Sheriff’s Office
                     Sexual Assault
                       Prevention


         86.       TCOLE records indicate the following service history for Officer Marriott:

          Appointed            Department                   Award          Service        Service
              As                                                          Start Date     End Date
             Jailer         Hunt Co. Sheriff’s        Jailer License       10/13/17
          (Full Time)            Office
             Jailer         Hunt Co. Sheriff’s       Temporary Jailer      01/30/17       10/13/17
          (Full Time)            Office                 License


         87.       TCOLE records indicate the following award history for Officer Marriott:

                       Award                          Type            Action           Action Date
               Temporary Jailer License              License          Granted           01/30/17
                   Jailer License                    License          Granted           10/13/17
                    Basic Jailer                    Certificate     Certification       01/15/18
                                                                      Issued



Plaintiff’s Original Complaint – Page 38 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                      Page 39 of 73 PageID 39



         88.       TCOLE records indicate that Officer Marriott received the following training

and/or education which was, upon information and belief, relevant to claims against him in this

case:

           Course         Course Title            Course Course             Institution
             No.                                   Date   Hours
            3507         PREA / Inmate           12/07/18   3        Hunt Co. Sheriff’s Office
                         Sexual Assault
                           Prevention
            2086         Jail Extraction         10/04/18     8      Hunt Co. Sheriff’s Office
            3517       Suicide Prevention        09/11/18     4      Hunt Co. Sheriff’s Office
                           (not 3501)
            4900         Mental Health           04/05/18     8      Bill Blackwood LEMI of
                       Training for Jailers                                    Texas
            1007       Basic County Jail         10/12/17     96     Hunt Co. Sheriff’s Office
                             Course
            2086         Jail Extraction         08/08/17     8      Hunt Co. Sheriff’s Office
            3721       County Correction         04/11/17    160     Hunt Co. Sheriff’s Office
                          Officer Field
                            Training


         89.       TCOLE records indicate the following service history for Officer Perdue:

          Appointed      Department            Award                    Service        Service
              As                                                       Start Date     End Date
             Peace    Bonham Police Dept. Peace Officer                 04/29/20
            Officer                           License
          (Full Time)
             Jailer    Hunt Co. Sheriff’s  Jailer License               10/21/16       04/22/20
          (Full Time)       Office
             Jailer    Hunt Co. Sheriff’s Temporary Jailer              02/15/16       10/21/16
          (Full Time)       Office            License


         90.       TCOLE records indicate the following award history for Officer Perdue:

                       Award                          Type           Action         Action Date
               Temporary Jailer License              License         Granted         02/15/16
                   Jailer License                    License         Granted         10/21/16
                Peace Officer License                License         Granted         04/29/20
                    Basic Jailer                    Certificate    Certification     01/30/17
                                                                     Issued




Plaintiff’s Original Complaint – Page 39 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                         Page 40 of 73 PageID 40



         91.      TCOLE records indicate that Officer Perdue received the following training and/or

education which was, upon information and belief, relevant to claims against him in this case:

           Course    Course Title                 Course Course                Institution
             No.                                   Date   Hours
            3517 Suicide Prevention              10/26/18   4           Hunt Co. Sheriff’s Office
                      (not 3501)
            4900    Mental Health                08/22/18      8        Bill Blackwood LEMI of
                  Training for Jailers                                            Texas
            2086    Jail Extraction              08/08/17      8        Hunt Co. Sheriff’s Office
            3830   General First Aid             12/21/16      8        Hunt Co. Sheriff’s Office
                       Training
            3845          CPR                    12/21/16      4        Hunt Co. Sheriff’s Office
            1007  Basic County Jail              10/20/16     96        Hunt Co. Sheriff’s Office
                        Course
            3830   General First Aid             08/16/16      2        Hunt Co. Sheriff’s Office
                       Training
            3507    PREA / Inmate                05/25/16      3        Hunt Co. Sheriff’s Office
                    Sexual Assault
                      Prevention
            3721 County Correction               05/11/16     160       Hunt Co. Sheriff’s Office
                     Officer Field
                       Training


         92.      TCOLE records indicate the following service history for Officer Robinson:

          Appointed            Department                   Award          Service       Service
             As                                                           Start Date    End Date
            Peace           Hunt Co. Sheriff’s        Peace Officer        06/27/16
           Officer               Office                 License
          (Reserve)
            Peace           Point Police Dept.        Peace Officer        10/31/14     10/02/15
           Officer                                      License
          (Reserve)
            Peace           Hunt Co. Sheriff’s        Peace Officer        01/28/14     06/27/16
           Officer               Office                 License
           (Other)
            Jailer          Hunt Co. Sheriff’s        Jailer License       10/30/12
                                 Office
             Jailer         Hunt Co. Sheriff’s       Temporary Jailer      07/11/12     10/30/12
          (Full Time)            Office                 License
             Peace          Commerce Police           Peace Officer        03/21/07     06/26/08
            Officer               Dept.                 License




Plaintiff’s Original Complaint – Page 40 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                        Page 41 of 73 PageID 41



            Reserve         Commerce Police           Peace Officer       11/29/06      03/21/07
            Officer             Dept.                   License


         93.       TCOLE records indicate the following award history for Officer Robinson:

                       Award                          Type           Action          Action Date
                Peace Officer License                License         Granted          11/29/06
               Temporary Jailer License              License         Granted          07/11/12
                   Jailer License                    License         Granted          10/30/12
                 Basic Peace Officer                Certificate    Certification      12/14/07
                                                                     Issued
                     Basic Jailer                   Certificate    Certification      05/31/14
                                                                     Issued
            Intermediate Peace Officer              Certificate    Certification      06/14/14
                                                                     Issued
           Basic Instructor Proficiency             Certificate    Certification      10/06/14
                                                                     Issued
         Intermediate Jailer Proficiency            Certificate    Certification      02/04/16
                                                                     Issued
           Advanced Jailer Proficiency              Certificate    Certification      06/25/16
                                                                     Issued
               Advanced Peace Officer               Certificate    Certification      09/03/20
                                                                     Issued

         94.       TCOLE records indicate that Officer Robinson received the following training

and/or education which was, upon information and belief, relevant to claims against her in this

case:

           Course    Course Title                 Course Course               Institution
             No.                                   Date   Hours
            3517 Suicide Prevention              09/13/18   4          Hunt Co. Sheriff’s Office
                      (not 3501)
            4900    Mental Health                02/16/18     8        Hunt Co. Sheriff’s Office
                  Training for Jailers
            3845          CPR                    10/27/16     4        Hunt Co. Sheriff’s Office
            3830   General First Aid             08/16/16     2        Hunt Co. Sheriff’s Office
                       Training
            3504   Use of Force in a             01/31/16     16      TEEX Central Texas Police
                      Jail Setting                                          Academy
                    (Intermediate)
            3037     Liabilities of              09/23/15     2        Hunt Co. Sheriff’s Office
                      Supervisor/
                       Manager



Plaintiff’s Original Complaint – Page 41 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                         Page 42 of 73 PageID 42



            3502       Inmate Rights and         07/31/15      16      TEEX Central Texas Police
                            Privileges                                       Academy
                         (Intermediate)
            3519          Objective Jail         11/30/14      4       TEEX Central Texas Police
                          Classification                                       Academy
            3501       Suicide Detection         11/25/14      8        Hunt Co. Sheriff’s Office
                       and Prevention in
                           Jails (Inter)
            3521          The Basics of          09/23/14      8        Bill Blackwood LEMI of
                         Minimum Jail                                             Texas
                            Standards
            2086         Jail Extraction         06/10/14      8        Hunt Co. Sheriff’s Office
            3721       County Correction         06/10/14      8        Hunt Co. Sheriff’s Office
                          Officer Field
                             Training
            3507         PREA / Inmate           11/19/13      4        Hunt Co. Sheriff’s Office
                         Sexual Assault
                           Prevention
            3500                Jail             12/19/12      8        Bill Blackwood LEMI of
                                                                                  Texas
            1007        Basic County Jail        10/29/12      96       Hunt Co. Sheriff’s Office
                              Course
            3856        First Aid / EMT /        11/09/07      4        Commerce Police Dept.
                               ECA                                        (Training Rosters)
                        (not course 3830)


         95.       TCOLE records indicate the following service history for Officer Wells:

          Appointed            Department                   Award          Service        Service
              As                                                          Start Date     End Date
             Jailer         Hunt Co. Sheriff’s        Jailer License       10/16/15
          (Full Time)            Office
             Jailer         Hunt Co. Sheriff’s       Temporary Jailer      02/09/15       10/16/15
          (Full Time)            Office                 License
             Peace          Hawk Cove Police          Peace Officer        01/30/06       03/30/06
            Officer               Dept.                 License
             Peace           West Tawakoni            Peace Officer        03/16/05       11/21/05
            Officer           Police Dept.              License


         96.       TCOLE records indicate the following award history for Officer Wells:

                       Award                          Type              Action         Action Date
                Peace Officer License                License            Granted         04/19/05
               Temporary Jailer License              License            Granted         02/09/15



Plaintiff’s Original Complaint – Page 42 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                         Page 43 of 73 PageID 43



                    Jailer License                   License            Granted         10/16/15

         97.       TCOLE records indicate that Officer Wells received the following training and/or

education which was, upon information and belief, relevant to claims against her in this case:

           Course         Course Title            Course Course                Institution
             No.                                   Date   Hours
            4900         Mental Health           05/21/18   8           Bill Blackwood LEMI of
                      Training for Jailers                                        Texas
            3930        Ethics – General         01/17/17      1        Hunt Co. Sheriff’s Office
                      In-Service Training
            3507        PREA / Inmate            01/17/17      3        Hunt Co. Sheriff’s Office
                         Sexual Assault
                           Prevention
            3830       General First Aid         08/16/16      2       Hunt. Co. Sheriff’s Office
                            Training
            3518          Assessing for          03/16/16      4        Bill Blackwood LEMI of
                       Suicide, Medical,                                          Texas
                           and Mental
                            Impairm
            2086         Jail Extraction         01/07/16       8       Hunt Co. Sheriff’s Office
            1007       Basic County Jail         10/15/15      96       Hunt Co. Sheriff’s Office
                             Course


         98.       TCOLE records indicate the following service history for Officer York:

          Appointed            Department                   Award          Service        Service
              As                                                          Start Date     End Date
             Jailer         Hunt Co. Sheriff’s        Jailer License       02/12/16
          (Full Time)            Office
             Jailer         Hunt Co. Sheriff’s       Temporary Jailer      07/07/15       02/12/16
          (Full Time)            Office                 License


         99.       TCOLE records indicate the following award history for Officer York:

                       Award                          Type            Action           Action Date
               Temporary Jailer License              License          Granted           07/07/15
                   Jailer License                    License          Granted           02/12/16
                    Basic Jailer                    Certificate     Certification       06/21/16
                                                                      Issued




Plaintiff’s Original Complaint – Page 43 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                    Page 44 of 73 PageID 44



         100.     TCOLE records indicate that Officer York received the following training and/or

education which was, upon information and belief, relevant to claims against him in this case:

           Course    Course Title                 Course Course           Institution
             No.                                   Date   Hours
            2086    Jail Extraction              10/04/18   8      Hunt Co. Sheriff’s Office
            3517 Suicide Prevention              09/13/18   8      Hunt Co. Sheriff’s Office
                      (not 3501)
            4900    Mental Health                04/05/18    8     Bill Blackwood LEMI of
                  Training for Jailers                                       Texas
            2086    Jail Extraction              08/08/17   24    TEEX Central Texas Police
                                                                           Academy
              3014     Mid-Management            06/18/17   36     Bill Blackwood LEMI of
                                                                             Texas
              3737     New Supervisor’s          02/22/17   24    Collin County Community
                            Course                                  College District – LEA
              3507      PREA / Inmate            05/25/16    3     Hunt Co. Sheriff’s Office
                        Sexual Assault
                          Prevention
              1007     Basic County Jail         02/11/16   96     Hunt Co. Sheriff’s Office
                            Course
              2086      Jail Extraction          01/07/16    8     Hunt Co. Sheriff’s Office
              3521       The Basics of           10/14/15    8     Bill Blackwood LEMI of
                        Minimum Jail                                         Texas
                          Standards
              3721     County Correction         09/03/15   160    Hunt Co. Sheriff’s Office
                         Officer Field
                           Training


         E.       Monell Liability of Hunt County

                  1.        Introduction

         101.     Plaintiff sets forth in this section of the pleading additional facts and allegations

supporting liability claims against Hunt County pursuant to Monell v. Department of Soc. Svcs.,

436 U.S. 658 (1978). It is Plaintiff’s intent that all facts asserted in this pleading, and not just the

facts and allegations set forth in this section, relating to policies, practices, and/or customs of Hunt

County support such Monell liability claims. Such policies, practices, and/or customs alleged in

this pleading were moving forces behind and caused the constitutional violations and damages and



Plaintiff’s Original Complaint – Page 44 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 45 of 73 PageID 45



death referenced herein. Moreover, these policies, practices, and/or customs operated together to

cause the constitutional violations and damages and death referenced in this pleading.

         102.     Hunt County knew when it incarcerated Gary that its personnel, policies, practices,

and/or customs were such that it could not or would not meet its constitutional obligations to

provide appropriate medical treatment to Gary. Hunt County made decisions about policy and

practice which it implemented through its commissioner’s court, its sheriff, its jail administrator,

and/or through such widespread practice and/or custom that such practice and/or custom became

the policy of Hunt County as it related to its jail. The Fifth Circuit Court of Appeals has made it

clear that Plaintiff need not allege at the pleading stage the specific identity of Hunt County’s chief

policymaker, and Plaintiff does not do so. Plaintiff merely suggests some final policymakers

regarding issues in this case, and ultimately relies on the court to make that determination in

accordance with Fifth Circuit precedent.

         103.     There were several policies, practices, and/or customs of Hunt County which were

moving forces behind, caused, were producing causes of, and/or proximately caused Gary’s

suffering and death, and other damages referenced in this pleading. The County made deliberate

decisions, acting in a deliberately indifferent and/or objectively unreasonable manner, when

implementing and/or allowing such policies, practices, and/or customs to exist. Further, when the

County implemented and/or consciously allowed such policies, practices, and/or customs to exist,

it knew with certainty that the result would be serious injury, suffering, physical illness, and/or

death.

         104.     Further, upon information and belief, the Hunt County Sheriff’s Department, which

was in charge of and ran the Hunt County jail, had a culture of disregard for the medical and/or

mental health needs of inmates. This disregard worked together with other policies, practices,




Plaintiff’s Original Complaint – Page 45 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                    Page 46 of 73 PageID 46



and/or customs mentioned in this pleading to be a moving force behind and cause, proximately

cause, and be a producing cause of Gary’s death and other damages referenced in this pleading.

                  2.        Hunt County Policies, Practices, and/or Customs

         105.     Plaintiff lists beneath this heading Hunt County policies, practices, and/or customs

which Plaintiff alleges, at times upon information and belief, caused, proximately caused, were

producing causes of, and/or were moving forces behind all damages referenced in this pleading,

including Gary’s death. Thus, Hunt County is liable for all such damages.

         106.     Hunt County had a policy, practice and/or custom of not providing annual suicide

training to its employees. The Hunt County jail was notified, on or about October 23, 2018, by

Texas Commission on Jail Standards inspector Shane Sowell, that jail staff were not receiving four

hours of annual suicide prevention training. This was required in accordance with the TCJS-

approved Mental Disability/Suicide Prevention Operation Plan. Only then did Hunt County

develop a class and lesson plan to train its jail employees regarding suicide prevention. Suicides

in Texas jails, as well as jails across not only the United States, but internationally, are a significant

problem. A jail that chooses not to train its employees regarding suicide prevention, when having

clear and unabashed knowledge that suicides will occur absent such training, acts in a deliberately

indifferent and objectively unreasonable manner. Hunt County knew, to a moral certainty, when

it chose not to train its employees annually in preventing and/or addressing suicides that death

would occur. This is some evidence of Hunt County’s deliberate indifference toward

medical/mental health needs of inmates.

         107.     Moreover, in April 2018, a review of Hunt County staff rosters showed that there

were at least six (6) night shifts that were short-staffed. A TCJS inspector also noted, when doing

a walk-through, that the night shift at the time of the inspection was also short-staffed. This is

particularly troubling, because short-staffing, according to the document describing the review,


Plaintiff’s Original Complaint – Page 46 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                 Page 47 of 73 PageID 47



indicates that there was not at least one person on duty for every 48 prisoners. As with the failure

to train employees regarding suicide prevention, the continued failure to appropriately staff the jail

at night worked together with other policies, practices, and/or customs in this pleading to cause

Gary’s death and other damages referenced in this pleading. Hunt County’s blood pressure check

practice, described elsewhere in this pleading, was a visual demonstration of the failure of Hunt

County to have sufficient people on staff to address medical needs of inmates. A single female

employee would be forced to stand at a sally port door and hope that male inmates, eight-to-a cell,

would exit the cell appropriately and receive needed medical care. Obviously, when someone was

seriously ill, such as Gary, this practice would certainly result in inmates not receiving reasonable

medical care or even the taking of necessary vital signs.

         108.     Hunt County had in place a written operational plan for an emergency, when the

gas leak occurred. As part of that plan, the jail administrator was to: “Call Greenville ISD

transportation to arrange transport of inmates to the Kaufman County, Rains County, and Rockwall

County Detention Centers.” Further, the jail administrator was to notify receiving agencies of

incoming inmates. However, upon information and belief, Hunt County knew that this policy was

insufficient and would lead to injury and/or death of inmates with serious medical issues, such as

Gary. Upon information and belief, Gary and other inmates were held in a Tarrant County facility

not contemplated by the written policy and not determined beforehand to be appropriate to house,

and more importantly treat, inmates such as Gary with serious medical issues. Thus, upon

information and belief, Hunt County’s custom and practice differed from its written policy

regarding an emergency such as the relevant gas leak.

         109.     Hunt County Sheriff’s Office had in place, at the time of Gary’s incarceration, an

Inmate Medical Services plan. That written plan included: “Emergency medical treatment shall




Plaintiff’s Original Complaint – Page 47 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 48 of 73 PageID 48



be available 24 hours a day, 7 days a week. Any inmate in need of such treatment shall be

transported by Sheriff’s Department personnel to the Hunt Regional Medical Center, if jail medical

staff cannot adequately treat the injury or illness. However, upon information and belief, Hunt

County’s practice and/or custom differed from this written policy. This difference is demonstrated

through other allegations in this pleading, including the refusal of at least eight individuals –

Individual Defendants – to obtain needed emergency medical treatment for Gary.

         110.     The Hunt County Sheriff’s Office also had in place, at the time of Gary’s

incarceration, a policy entitled “Inmate Headcounts.” The Formal Count portion of that policy

reads in part:

         A formal count will be conducted at the beginning of each shift. The floor officer
         will announce in each cell that count is being performed. The inmates will be
         instructed to sit up on their bunks. Inmates in administrative segregation may be
         required to stand at their door in order to provide a proper view of the inmate. Using
         the computer generated call roster, the floor officer will call each inmate name and
         obtain a response.

The Hourly Check portion of the policy provides in part, “The floor officer will visually observe

all inmates in each cell at least once each hour to insure [sic] the safety and welfare of inmates in

their assigned area.” This policy, as others mentioned in this pleading, worked together to cause

damages and death referenced in this pleading. This written policy differed, upon information and

belief, from the practice and/or custom of Hunt County as described elsewhere – cell “checks”

occurred through pulling a curtain back followed by a brief, at times two-to-three seconds, viewing

inside the cell. It is virtually impossible to view eight inmates in such a brief period of time and

determine not only how many are in the cell, but whether they are safe and/or healthy.

         111.     Upon information and belief, as demonstrated by the sheer number of Individual

Defendants, and the high likelihood that individuals other than Individual Defendants knew of

Gary’s serious health issues and failed to do anything about them, and specifically to seek needed



Plaintiff’s Original Complaint – Page 48 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                 Page 49 of 73 PageID 49



emergency medical care, the facts of this case are classic for a single-incident liability theory. The

failure to act was so pervasive that it demonstrated Hunt County policy, practice, and/or custom

of ignoring serious medical needs of an inmate, such as Gary. In the absence of serious physical

trauma, 32-year-old people do not generally die if medical treatment is provided for known health

conditions. The demonstration of the custom of failing to provide medical care was shown in part

by the number of Individual Defendants who refused to take action, as well as other allegations in

this pleading.

         112.     Hunt County’s policy, practice and/or custom of allowing glances through windows

into cells, such as that in which Gary was incarcerated, caused, were a proximate cause of, and

were producing causes of all damages referenced in this pleading, including Gary’s death. Such a

policy did not allow jailers and/or medical personnel to actually assess inmates in a cell. Instead,

if an inmate is lying on a bunk, deceased, as was Gary, such a glance would not disclose such an

inmate’s condition.

         113.     Hunt County also had a policy, practice, and/or custom of allowing cursory

statements to be written of floor logs, even with eight-person cells, such as that in which Gary was

incarcerated, were viewed. This resulted in jailer-officers conducting cursory checks, simply

writing the word “visual” at times. This also enabled floor officers, if they chose to do so, to

simply complete forms while performing their duties in a rote manner without any concern about,

and/or meaningful observation of, inmates.

         114.     Further, upon information and belief, Hunt County had a policy, practice, and/or

custom of allowing medical officers to complete blood pressure check sheets with times and dates

of purported refusals when no such refusals occurred. A “refusal” to medical treatment and/or

evaluation presumes that the person to be treated and/or evaluated actually declined treatment




Plaintiff’s Original Complaint – Page 49 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                 Page 50 of 73 PageID 50



and/or evaluation. As is clear with regard to Gary, no such denial, or informed consent regarding

denial, was obtained. Hunt County’s policy, practice, and/or custom was, upon information and

belief, to simply wait for inmates to exit the cell and/or voice their desire to receive treatment.

Hunt County had constitutional obligations to provide reasonable medical care to inmates, such as

Gary. Inmates did not have an obligation to seek out such treatment (although Gary did). This

policy, practice, and/or custom caused, proximately caused, and was a producing cause of damages

and death referenced in this pleading.

         115.     Upon information and belief, Hunt County had a policy, practice and/or custom of

not requiring pass-down logs to be completed on a daily and/or shift basis. This allowed a

complete breakdown of communication within the jail and would not inform one shift as to what

occurred on the prior shift. This worked together with other policies, practices, and/or customs

referenced in this pleading to cause Gary’s suffering and death.

         116.     Upon information and belief, Hunt County and, upon information and belief,

Individual Defendants knew of the significant risk of people dying in jail if they were not provided

appropriate medical care. There have been additional deaths at Hunt County before Gary died,

and there were deaths at the Hunt County jail after Gary died. This was some evidence of the

deliberate indifference and objective unreasonableness of policies, practices and/or customs at the

jail. Moreover, it placed all Defendants on notice that, absent closely watching inmates such as

Gary, serious injury and/or death would occur.

         117.     Further, upon information and belief, Individual Defendants were not terminated

and/or were not the subject of any significant adverse employment action as a result of Gary’s

death and/or events leading up to it. This is some evidence of pre-existing policy, practice, and/or

custom. While the word “ratification” is often used with factual allegations such as those in this




Plaintiff’s Original Complaint – Page 50 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 51 of 73 PageID 51



paragraph, what constituted the moving force behind damages and death referenced in this

pleading was actually pre-existing policy, practice, and/or custom. Hunt County’s refusal to act

against its employees after Gary’s death, considering the egregious failure to provide care,

evidenced unconstitutional pre-existing policy, practice, and/or custom.

         118.     Finally, Hunt County Sheriff’s Office training records for Medical Officer Landers

indicate that she was evaluated as not competent to perform her job duties. Training records

indicate that, more than once, she was below average in her knowledge of jail standards,

department policy and procedure, and inmate rules. This was a repeated issue during her training,

and she should not have been retained as an employee. The failure and refusal of Hunt County to

terminate her employment caused, was a proximate cause, and a producing cause of all damages

and death referenced in this pleading. Moreover, Field Training Officer Quick wrote, “I have also

noticed that Officer Landers is Standoffish [sic] and slightly argumentative during instruction. At

this time I have found Officer Landers to be lacking in a good attitude towards the work

environment and unapproachable at times by fellow Officers.”

                  3.        Texas Commission on Jail Standards: Hunt County Jail Failed Inspections

         119.     The Texas Commission on Jail Standards (“TCJS”) is the regulatory agency for all

county jails in Texas, as well as privately-operated municipal jails. It periodically inspects those

jails to determine whether they meet bare minimum standards. The Hunt County jail has

continually failed to meet these minimum standards, over several years, and its continued failure,

taken together with other policies, practices, and/or customs in this pleading, worked together to

cause, proximately cause, and be a producing cause of damages and death referenced in this

pleading. In fact, as of September 21, 2020, and since January 9, 2020, the Hunt County jail has

been on the TCJS list of non-compliant jails. This pleading references inspection reports from




Plaintiff’s Original Complaint – Page 51 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 52 of 73 PageID 52



early 2013, although the TCJS might have found the Hunt County jail to be non-compliant even

before that time.

         120.     The TCJS inspected the Hunt County jail, in Greenville, Texas, on February 13-14,

2013. While the TCJS did not indicate that the Hunt County jail was non-complaint at that time,

it did note several areas of the jail showing signs of water leakage from the ceiling inside inmate

cells. Walls were discolored. This required inmates to be relocated, and cells to be closed, until

roof repairs could be made. The TCJS had to threaten issuing a notice of non-compliance if repairs

were not promptly made. This failure to keep water from inside inmate cells was deliberate

indifference to the health of inmates who might become ill as a result.

         121.     The report requiring these repairs also indicated that the Hunt County jail was not

informing a magistrate, as required by Texas law, when an inmate was brought into the jail and

was an exact match for having received mental health services in the past. The failure to notify a

magistrate is another indicator of the jail’s custom of deliberate indifference to mental health needs

of inmates.

         122.     The TCJS also inspected the Hunt County jail February 27-28, 2014. The TCJS

found that, on occasion, an inmate was kept in a holding cell over 48 hours. This exceeded

minimum jail standards. The TCJS inspector also observed jail administration using the detox cell

as a holding cell. This is not permitted. The inspector also determined that, regarding disciplinary

documentation, Hunt County jail administration was not waiting 24 hours after serving an inmate

with a notice of his hearing before offering the inmate a disciplinary hearing waiver. This was

simply more evidence of Hunt County jail’s custom of disregard for the rights and needs of its

inmates.




Plaintiff’s Original Complaint – Page 52 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 53 of 73 PageID 53



         123.     The TCJS inspected the Hunt County jail again on April 9-10, 2015. The TCJS

determined that deficiencies existed and determined that the jail was non-complaint. The inspector

found a number of issues where the jail was not meeting bare minimum standards:

                  •    The kitchen floor was worn away to the point that the floor could no longer
                       even be sanitized, and the floor was no longer even properly pitched around
                       floor drains to allow water to drain. This occurred even thought the issue was
                       noted on the kitchen’s last health inspection.

                  •    Intercoms in the jail were not functioning, and were thus were unable to provide
                       two-way audio communication at all times, as required by minimum jail
                       standards, in the Northeast, Northwest, and female separation hallways.

                  •    All jailers were not receiving life safety training upon employment, and
                       quarterly thereafter, as required by minimum jail standards.

                  •    Generators were not being tested weekly, as required by minimum jail
                       standards.

                  •    During a review of face-to-face observation documentation of inmates in the
                       female segregation area, jailers exceeded the 15-minute limit between checks
                       due to the intercoms not providing two-way audio communication at all times
                       as required by minimum jail standards.


Once again, the Hunt County jail demonstrated a lack of commitment to health and safety of its

inmates. One would think that Hunt County would cure these issues, after being notified more

than once. But, problems at the Hunt County jail continued.

         124.     On May 26-27, 2016, the TCJS inspected the Hunt County jail. Once again, the

Hunt County jail failed the inspection. The Hunt County jail was again listed as being non-

compliant. The TCJS inspector found numerous issues:

                  •    There were problems with the fire panel, and it could not be reset to normal
                       mode.

                  •    When the inspector reviewed inmate medical information, the inspector found
                       that an inmate did not have a completed mental health screening tool as required
                       by minimum jail standards.




Plaintiff’s Original Complaint – Page 53 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 54 of 73 PageID 54



                  •    The inspector found, when reviewing TB tests for employees, that 18 jailers did
                       not receive their annual tests as required by minimum jail standards. \

                  •    The inspector also found, when walking through the facility, several issues
                       requiring repair, including ceiling leaks, gaps in cells, and a sink leak.

         125.     On July 23, 2016, the TCJS conducted a special inspection. Upon information and

belief, this was due to the suicide death of inmate Jason Edward Donnell. The Hunt County jail

was listed as being non-compliant, because it failed to notify the magistrate in accordance with

minimum jail standards as to an inmate who was determined to be mentally disabled and/or

suicidal. This showed conscious disregard for the inmate’s mental health issues and unfortunately

apparently resulted in that inmate’s suicide.

         126.     On April 18, 2018, the TCJS conducted another inspection of the Hunt County jail.

Once again, the Hunt County jail failed the inspection and was listed as being non-compliant.

There were numerous issued listed in the report:

                  •    There were two large holes in the foundation of the jail. There were also
                       numerous holes in the ceiling of the secured facility, and they were covered
                       with plywood and non-detention grade screws.

                  •    The fire system was tested under generator power. The fire panel, after being
                       triggered from a smoke alarm, displayed a trouble code. Staff was unable to
                       reset the system back to normal while under emergency power.

                  •    While reviewing inmate files, the TCJS inspector discovered two files
                       containing medical records that were not separated. Those documents included
                       the CCQ and Screening Form for Suicide Medical and Mental Developmental
                       Impairments.

                  •    During a review of classification files, the TCJS inspector noted that Hunt
                       County was not following its own approved plan. Inmates were to have their
                       first initial reassessment within 60 days after the initial assessment, but
                       reviewed files were consistently over the 60 days on the first reassessment.

                  •    The TCJS inspector reviewed classification files and discovered that inmates
                       were not being accurately reassessed using the proper form in their approved
                       plan. All inmates with an assaultive felony and a certain initial assessment




Plaintiff’s Original Complaint – Page 54 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                     Page 55 of 73 PageID 55



                       custody were never lowered in custody. This even included inmates who
                       displayed no institutional behavior problems.

                  •    Jail staff were not receiving four hours of suicide prevention in-service training
                       annually, which was required by the Hunt County approved operational plan.

                  •    The TCJS inspector noted that, on suicide observation logs, observations had to
                       be conducted within ten minutes. However, observations were documented to
                       be over the ten-minute limit from six-to-eight minutes on a continuous basis.

                  •    Officers were not documenting the time restraints were removed, after
                       physically restraining an inmate.

                  •    The TCJS inspector noted, when reviewing staff rosters, that there were at least
                       six night shifts that were short-staffed during the month of April 2018.
                       Inspectors also observed the night shift to be short-staffed on the day of
                       inspection.

                  •    The Hunt County jail was, once again, not following its own approved
                       operational plan regarding sanitation. Inmates were receiving cleaning supplies
                       every other day and not daily, as required.

                  •    There were, as described by the TCJS inspector, “Multiple maintenance issues.
                       These involved lavatories which allowed water to flow over the faucet head,
                       loose privacy shields, tables with missing bolts, holes in concrete walls,
                       television stands missing bolts, exposed electrical boxes, burned out lights
                       throughout the facility, a telephone with exposed wiring, furnishings not
                       secured with detention-grade screws, large unfilled cracks in the walls, and
                       more.”

                  •    During a review of disciplinary incidents, the TCJS inspector noticed that staff
                       were not following the approved operational plan. This was considered a
                       violation of due process.


                  •    The TCJS inspector also noted that, regarding disciplinary incidents, the Hunt
                       County jail was not complying with the approved inmate handbook.


                  •    The inspector also noted, when reviewing grievances, that the inspector was
                       unable to verify any written responses from the grievance officer being
                       provided to inmates in accordance with the Hunt County jail approved
                       operational plan.


                  •    Finally, while reviewing inmate files, the inspector noted a request to participate
                       in educational and rehabilitation services. She was denied solely because of her


Plaintiff’s Original Complaint – Page 55 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                    Page 56 of 73 PageID 56



                       charge at the time and not whether she would pose a serious risk to inmate or
                       officer safety and/or negatively impact jail security.


This is perhaps one of the longest lists of non-compliance issues which the TCJS has issued over

the last several years. It is simply further evidence of Hunt County’s custom of lack of care and/or

consideration of its inmates’ medical and other issues.

         127.     Nevertheless, the Hunt County jail decided to continue being a non-compliant jail.

On February 25-26, 2019, the TCJS conducted yet another inspection of the Hunt County jail. As

it had for prior yearly inspections, it failed. It was once again listed as non-compliant. The TCJS

inspector found a number of issues:

                  •    Amazingly, deficiencies from the 2018 annual inspection still existed. The jail
                       had not completed repairs to the foundation, and there were numerous holes in
                       the ceiling which were still covered with plywood and non-detention grade
                       screws.

                  •    During the review of the thirty-minute face-to-face observations of inmates in
                       the holding cell, the TCJS inspector noted that staff exceeding the thirty minutes
                       required by TCJS minimum standards by as little as one minute by as much as
                       up to twenty-nine minutes.


                  •    Deficiencies from the 2018 annual inspection, regarding sanitation, still existed.
                       The inspector wrote that there were “multiple sanitation issues.” All showers,
                       except a few which had recently been remodeled, had peeling paint and were
                       covered in an unknown black substance. Privacy shields contained severe rust
                       on the panels, and the mounting points on the floor.


                  •    Finally, deficiencies from the 2018 annual inspection still existed regarding
                       facility maintenance. There were still multiple maintenance issues.


Clearly, Hunt County cared little about complying with minimum jail standards and/or its

constitutional obligations.

         128.     On January 6-7, 2020, the TCJS inspected the Hunt County jail once again. As it

had for several years in a row, the Hunt Count jail failed. It was once again listed as non-compliant,



Plaintiff’s Original Complaint – Page 56 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 57 of 73 PageID 57



as it continues to be listed as of the week this pleading was finalized in September 2020. The

inspector found issues including:

                  •    The generator to the jail annex had an improper transfer time.

                  •    Showers throughout the main jail had exposed concrete, fruit flies and still, an
                       unknown black substance on the walls. The shower sanitation issues were a
                       deficiency on the 2018 and 2019 annual inspections. The inspection team also
                       observed sanitation issues in the kitchen, including unresolved areas identified
                       from the 2019 health inspection report.

                  •    The main jail was identified to have false secure door indicators on the control
                       board. Numerous lights were still out throughout the facility, and there were
                       several exposed wall joint gaps as well.

It appears that Hunt County simply does not care about meeting minimum standards. Hunt

County’s failure, over a number of years, to bring itself into compliance with just bare minimum

standards demonstrates its policy, practice, and/or custom of deliberate indifference and objective

unreasonableness toward the needs of pre-trial detainees in its care. This, taken together with all

other policies, practices, and/or customs asserted in this pleading, shows deliberate indifference

and objective unreasonableness which unfortunately resulted in and caused Gary’s suffering and

death.

                  4.        Other Incidents

         129.     On August 31, 2006, Hunt County jail inmate Glenda Marie Jackson was found

deceased in an administrative segregation cell. She had been in the jail for approximately one

week and been allegedly seen by a jail physician on August 30, 2006. Family members had

attempted to provide the jail with prescription medication for Ms. Jackson’s mental health

problems and for alcohol withdrawal.             The jail refused the prescriptions because they had

purportedly expired. Thus, instead, new medications were prescribed on August 30, 2006, nearly

a week after Ms. Jackson had been incarcerated with, upon information and belief, mental health




Plaintiff’s Original Complaint – Page 57 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 58 of 73 PageID 58



issues and issues with withdrawing from alcohol. According to the custodial death report, Ms.

Jackson had only been able to take two doses of medication before her death. Ms. Jackson was

only 42 years old at the time of her death.

         130.     On or about December 27, 2010, Randy Bruce Wallick died after being in the Hunt

County jail. Mr. Wallick had been incarcerated for several months at the time. He was receiving

medications for asthma and being bi-polar. At approximately 12:15 a.m. on December 27, 2010,

Mr. Wallick indicated to other inmates in his cell that he was not feeling well. He then passed out

and fell to the floor. He ultimately began to foam around his mouth. He was transported to Hunt

Regional Hospital and pronounced deceased at 3:00 a.m.

         131.     On November 21, 2012, Melanie Lynn Smith died after being in the Hunt County

jail. On November 13, 2012, at approximately 6:00 p.m., Ms. Smith complained of knee pain. A

medical supervisor spoke with Ms. Smith and determined that no medical attention was allegedly

necessary. Ms. Smith was eventually transported to the Hunt Regional Medical Center in

Greenville, Texas. She died, as indicated above, on November 21, 2012 after a determination that

she needed dialysis that the local hospital was unable to provide.

         132.     On December 13, 2014, Amber Dawn Reed died after being in the Hunt County

jail. Ms. Reed was received from Rockwall County on December 9, 2014 at approximately 11:32

p.m. She received some medical treatment at a local hospital before being incarcerated in Hunt

County, and she was allegedly treated daily with certain prescribed medications while in the Hunt

County jail. However, certain medications were faxed and ordered on December 10, 2014, but

were not started until December 12, 2014. On the night of December 13, 2014, at approximately

8:00 p.m., Ms. Reed was found in distress in her cell. She had visible bleeding. Ms. Reed was

transported to Hunt Regional Medical Center and pronounced deceased at approximately 11:39




Plaintiff’s Original Complaint – Page 58 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                Page 59 of 73 PageID 59



p.m. by Justice of the Peace Wayne Money. Ms. Reed was only 37 years old at the time of her

death. An autopsy report indicated that she passed away of acute lobar pneumonia. There were

concerns, reported by one officer to another, regarding medical records related to the death.

Moreover, as with Gary, the investigation regarding Ms. Reed’s death indicated that she should

have received needed medical treatment once it had become clear that she was deathly ill.

         133.     On or about June 13, 2016, Jason Edward Donnell died by committing suicide, by

hanging, in the Hunt County jail. Mr. Donnell had been in a protective custody, single cell, for

approximately three months. “New Jailer on duty,” according to the custodial death report, found

Mr. Donnell hanging on his cell door, at approximately 6:05 a.m., by using his apparent jail-issued

pants.

         134.     Deaths occurring in the Hunt County jail after Gary’s death are some evidence of

unconstitutional conditions of confinement arising from Hunt County policies, practices, and/or

customs referenced in this pleading. On November 4, 2019, at approximately 2:36 p.m., Tiani

Warden, a Hunt County jail inmate, was found unresponsive in her cell. She was then transported

to the hospital. She had initially been arrested by the Quinlan Police Department for the charge of

public intoxication. She was actually found in a ditch, intoxicated. She had been in Holding Cell

270, by herself, and had allegedly been checked periodically. However, she was found lying on

the floor of her cell unresponsive. Ms. Warden was only 52 years of age at the time of her death.

According to an email from Clifton King, to the Texas Commission on Jail Standards, Ms. Warden

was not seen by jail medical staff or put on a detox protocol. Instead, she was placed on a

mental/suicidal watch when she was flagged by the Texas Commission on Jail Standards Suicide

Screening Form. The autopsy report indicated that Ms. Warden died as a result of the toxic effects

of cocaine.




Plaintiff’s Original Complaint – Page 59 of 73
       Case 3:20-cv-02935-N Document 1 Filed 09/23/20               Page 60 of 73 PageID 60



          135.    On December 11, 2019, Mark Steven King, Jr. died after being in the Hunt County

jail. Mr. King was only 44 years of age at the time of his death, and he had been brought to the

jail by the West Tawakoni Police Department. The arresting officer believed that Mr. King was

suicidal. Mr. King was later found to be unresponsive in his cell. However, this occurred after

Mr. King was asking a sergeant about a “lady in the trash can.” There was no one in the trash can,

and there was nobody in the area that Mr. King was addressing. Further, Mr. King had been

brought back to the jail from court, because he apparently believed that he was seeing his mother

at the courthouse when such persons were not present. A serious incident report regarding Mr.

King’s death indicated that he was found lying on his stomach and not breathing. Another report

indicated that he was rolled over onto his back, and he already had a bluish skin color. An officer

felt no pulse at that time.


III.      Causes of Action
          A.      14th Amendment Due Process Claims Under 42 U.S.C. § 1983: Objective
                  Reasonableness Pursuant to Kingsley v. Hendrickson

          136.    In Kingsley v. Hendrickson, 135 S. Ct. 2466 (2015), a pretrial detainee sued several

jail officers alleging that they violated the 14th Amendment’s Due Process Clause by using

excessive force against him. Id. at 2470. The Court determined the following issue: “whether, to

prove an excessive force claim, a pretrial detainee must show that the officers were subjectively

aware that their use of force was unreasonable, or only that the officer’s use of that force was

objectively unreasonable.” Id. (emphasis in original). The Court concluded that the objectively

unreasonable standard was that to be used in excessive force cases, and that an officer’s subjective

awareness was irrelevant. Id. The Court did so, acknowledging and resolving disagreement

among the Circuits. Id. at 2471-72.




Plaintiff’s Original Complaint – Page 60 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 61 of 73 PageID 61



         137.     The Court flatly wrote “the defendant’s state of mind is not a matter that a plaintiff

is required to prove.” Id. at 2472. Instead, “courts must use an objective standard.” Id at 2472-

73. “[A] pretrial detainee must show only that the force purposefully or knowingly used against

him was objectively unreasonable.” Id. at 2473. Thus, the Court required no mens rea, no

conscious constitutional violation, and no subjective belief or understanding of offending police

officers, or jailers, for an episodic claim but instead instructed all federal courts to analyze

officers’, or jailers’, conduct on an objective reasonability standard. Since pretrial detainees’ rights

to receive reasonable medical and mental health care, to be protected from harm, and not to be

punished at all, also arise under the 14th Amendment’s Due Process Clause, there is no reason to

apply a different standard when analyzing those rights.

         138.     It appears that this objective reasonableness standard is now the law of the land. In

Alderson v. Concordia Parish Corr. Facility, 848 F.3d 415 (5th Cir. 2017), the Fifth Circuit Court

of Appeals considered appeal of a pretrial detainee case in which the pretrial detainee alleged

failure-to-protect and failure to provide reasonable medical care claims pursuant to 42 U.S.C. §

1983. Id. at 418. The court wrote, “Pretrial detainees are protected by the Due Process Clause of

the Fourteenth Amendment.” Id. at 419 (citation omitted). The Fifth Circuit determined, even

though Kingsley had been decided by the United States Supreme Court, that a plaintiff in such a

case still must show subjective deliberate indifference by a defendant in an episodic act or omission

case. Id. at 419-20. A plaintiff must still show that actions of such an individual person acting

under color of state law were “reckless.” Id. at 420 (citation omitted). However, concurring




Plaintiff’s Original Complaint – Page 61 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 62 of 73 PageID 62



Circuit Judge Graves dissented to a footnote in which the majority refused to reconsider the

deliberate indifference, subjective standard, in the Fifth Circuit. Id. at 420 and 424-25.1




1
 Circuit Judge Graves wrote: “I write separately because the Supreme Court’s decision in Kingsley
v. Hendrickson, ––– U.S. ––––, 135 S.Ct. 2466, 192 L.Ed.2d 416 (2015), appears to call into
question this court’s holding in Hare v. City of Corinth, 74 F.3d 633 (5th Cir. 1996). In Kingsley,
which was an excessive force case, the Supreme Court indeed said: “Whether that standard might
suffice for liability in the case of an alleged mistreatment of a pretrial detainee need not be decided
here; for the officers do not dispute that they acted purposefully or knowingly with respect to the
force they used against Kingsley.” Kingsley, 135 S.Ct. at 2472. However, that appears to be an
acknowledgment that, even in such a case, there is no established subjective standard as the
majority determined in Hare. Also, the analysis in Kingsley appears to support the conclusion that
an objective standard would apply in a failure-to-protect case. See id. at 2472–2476.

Additionally, the Supreme Court said:

         We acknowledge that our view that an objective standard is appropriate in the
         context of excessive force claims brought by pretrial detainees pursuant to the
         Fourteenth Amendment may raise questions about the use of a subjective standard
         in the context of excessive force claims brought by convicted prisoners. We are
         not confronted with such a claim, however, so we need not address that issue today.

Id. at 2476. This indicates that there are still different standards for pretrial detainees and DOC
inmates, contrary to at least some of the language in Hare, 74 F.3d at 650, and that, if the standards
were to be commingled, it would be toward an objective standard as to both on at least some
claims.

Further, the Ninth Circuit granted en banc rehearing in Castro v. County of Los Angeles, 833 F.3d
1060 (9th Cir. 2016), after a partially dissenting panel judge wrote separately to point out that
Kingsley “calls into question our precedent on the appropriate state-of-mind inquiry in failure-to-
protect claims brought by pretrial detainees.” Castro v. County of Los Angeles, 797 F.3d 654, 677
(9th Cir. 2015). The en banc court concluded that Kingsley applies to failure-to-protect claims and
that an objective standard is appropriate. Castro, 833 F.3d at 1068–1073.

In Estate of Henson v. Wichita County, 795 F.3d 456 (5th Cir. 2014), decided just one month after
Kingsley, this court did not address any application of Kingsley. Likewise, the two subsequent
cases also cited by the majority did not address or distinguish Kingsley. Hyatt v. Thomas, 843 F.3d
172 (5th Cir. 2016), and Zimmerman v. Cutler, 657 Fed.Appx. 340 (5th Cir. 2016). Because I read
Kingsley as the Ninth Circuit did and would revisit the deliberate indifference standard, I write
separately.”




Plaintiff’s Original Complaint – Page 62 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                    Page 63 of 73 PageID 63



         139.     The majority opinion gave only three reasons for the court’s determination that the

law should not change in light of Kingsley. First, the panel was bound by the Fifth Circuit’s “rule

of orderliness.” Id. at 420 n.4. Second, the Ninth Circuit was at that time the only circuit to have

extended Kingsley’s objective standard to failure-to-protect claims. Id. Third, the Fifth Circuit

refused to reconsider the law of the Circuit in light of United State Supreme Court precedent,

because it would not have changed the results in Alderson. Id. Even so, the Fifth Circuit noted,

nearly twenty-five years ago, that the analysis in pretrial detainee provision of medical care cases

is the same as that for pretrial detainee failure-to-protect cases. Hare v. City of Corinth, 74 F.3d

633, 643 (5th Cir. 1996).

         140.     Thus, the trail leads to only one place – an objective unreasonableness standard,

with no regard for officers’ or jailers’ subjective belief or understanding, should apply in this case

and all pretrial detainee cases arising under the Due Process Clause of the 14th Amendment. The

Fifth Circuit, and the district court in this case, should reassess Fifth Circuit law in light of Kingsley

and apply an objective unreasonableness standard to constitutional claims in this case. The court

should not apply a subjective state of mind and/or deliberate indifference standard. The Supreme

Court discarded the idea that a plaintiff, asserting claims due to treatment received by a non-

convicted inmate, should have such a burden.

         B.       Remedies for Violation of Constitutional Rights and Other Federal Claims

         141.     The United States Court of Appeals for the Fifth Circuit has held that using a State’s

wrongful death and survival statutes creates an effective remedy for civil rights claims pursuant to

42 U.S.C. § 1983. Therefore, Plaintiff individually, and for and on behalf of Claimant Heirs, seeks,

for causes of action asserted in this complaint, all remedies and damages available pursuant to

Texas and federal law, including but not necessarily limited to the Texas wrongful death statute

(Tex. Civ. Prac. & Rem. Code § 71.002 et seq.), the Texas survival statute (Tex. Civ. Prac. & Rem.


Plaintiff’s Original Complaint – Page 63 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 64 of 73 PageID 64



Code § 71.021), the Texas Constitution, common law, and all related and/or supporting case law.

If Gary had lived, he would have been entitled to bring a 42 U.S.C. § 1983 action for violation of

the United States Constitution and obtain remedies and damages provided by Texas and federal

law. Plaintiff incorporates this remedies section into all sections in this complaint asserting

cause(s) of action.

         C.       Cause of Action Against Individual Defendants Under 42 U.S.C. § 1983 for
                  Violation of 14th Amendment Due Process and/or 4th Amendment Rights to
                  Reasonable Medical Care, to be Protected, and not to be Punished

         142.     In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and incorporating

all other allegations herein (including all allegations in the “Factual Allegations” section above) to

the extent they are not inconsistent with the cause of action pled here, Individual Defendants are

liable to Plaintiff individually and to Claimant Heirs, pursuant to 42 U.S.C. § 1983, for violating

Gary's rights to reasonable medical care, to be protected, and not to be punished as a pretrial

detainee. These rights are guaranteed by the 4th and/or 14th Amendments to the United States

Constitution. Pre-trial detainees are entitled to a greater degree of medical care than convicted

inmates, according to the Fifth Circuit Court of Appeals. Pre-trial detainees are also entitled to

protection, and also not to be punished at all since they have not been convicted of any alleged

crime resulting in their incarceration.

         143.     Individual Defendants acted and failed to act under color of state law at all times

referenced in this pleading. They wholly or substantially ignored Gary's obvious serious medical

needs, and they were deliberately indifferent to and acted in an objectively unreasonable manner

those needs. They failed to protect Gary, by obtaining for him needed medical care, and instead

left him in a cell to die. This constituted unconstitutional punishment of Gary. Upon information

and belief, Individual Defendants were aware of the excessive risk to Gary’s health and safety and


Plaintiff’s Original Complaint – Page 64 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 65 of 73 PageID 65



were aware of facts from which an inference could be drawn of serious harm, suffering, and death.

Moreover, upon information and belief, they in fact drew that inference. Individual Defendants

violated clearly established constitutional rights, and their conduct was objectively unreasonable

in light of clearly established law at the time of the relevant incidents.

         144.     Individual Defendants are also liable pursuant to the theory of bystander liability.

Bystander liability applies when the bystander jailer/officer (1) knows that a fellow jailer/officer

is violating a person’s constitutional rights; (2) has a reasonable opportunity to prevent the harm;

and (3) chooses not to act. As demonstrated through facts asserted in this pleading, Individual

Defendants’ actions and inaction meet all three elements. All Individual Defendants, regardless

of their rank or position, had a duty and an obligation to assure that Gary was transported to an

appropriate hospital and/or to call serious attention to Gary’s serious medical issues, to their

supervisors and/or others at Hunt County. They chose not to do so. Therefore, Individual

Defendants are also liable to Plaintiff individually and Claimant Heirs pursuant to this theory.

         145.     In the alternative, Individual Defendants’ deliberate indifference, conscious

disregard, state of mind, subjective belief, subjective awareness, and/or mental culpability are

irrelevant to determination of constitutional violations set forth in this section of this pleading.

The United States Supreme Court, in Kingsley v. Hendrickson, 135 S. Ct. 2466 (2015), determined

the state of mind necessary, if any, for officers/jailers sued in a case alleging excessive force

against a pretrial detainee in violation of the 14th Amendment’s Due Process Clause. Id at 2470-

71. Constitutional rights set forth in this section of the pleading, and constitutional rights affording

pretrial detainees protection against excessive force, all flow from the 14th Amendment’s Due

Process Clause. Id. Since such constitutional protections flow from the same clause, the analysis

of what is necessary to prove such constitutional violations is identical.




Plaintiff’s Original Complaint – Page 65 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                 Page 66 of 73 PageID 66



         146.     Individual Defendants are not entitled to qualified immunity.2 Their denial of

reasonable medical care, and other actions and/or inaction set forth in this pleading, caused,

proximately caused, and/or were producing causes of Gary’s suffering and death and other

damages mentioned and/or referenced in this pleading, including but not limited to those suffered

by Plaintiff and Claimant Heirs.



2
    The defense of qualified immunity is, and should be held to be, a legally impermissible defense.
In the alternative, it should be held to be a legally impermissible defense except as applied to state
actors protected by immunity in 1871 when 42 U.S.C. § 1983 was enacted. Congress makes laws.
Courts do not. However, the qualified immunity defense was invented by judges. When judges
make law, they violate the separation of powers doctrine, and the Privileges and Immunities Clause
of the United States Constitution. Plaintiff respectfully makes a good faith argument for the
modification of existing law, such that the court–created doctrine of qualified immunity be
abrogated or limited.
    Individual Defendants cannot show that they would fall within the category of persons
referenced in the second sentence of this footnote. This would be Defendants’ burden, if they
choose to assert the alleged defense. Qualified immunity, as applied to persons not immunized
under common or statutory law in 1871, is untethered to any cognizable legal mandate and is flatly
in derogation of the plain meaning and language of Section 1983. See Ziglar v. Abassi, 137 S. Ct.
1843, 1870-72 (2017) (Thomas, J., concurring). Qualified immunity should have never been
instituted as a defense, without any statutory, constitutional, or long-held common law foundation,
and it is unworkable, unreasonable, and places too high a burden on Plaintiffs who suffer violation
of their constitutional rights. Joanna C. Schwartz, The Case Against Qualified Immunity, 93 Notre
Dame L. Rev. 1797 (2018) (observing that qualified immunity has no basis in the common law,
does not achieve intended policy goals, can render the Constitution “hollow,” and cannot be
justified as protection for governmental budgets); and William Baude, Is Qualified Immunity
Unlawful?, 106 Calif. L. Rev. 45, 82 (2018) (noting that, as of the time of the article, the United
States Supreme Court decided 30 qualified immunity cases since 1982 and found that defendants
violated clearly established law in only 2 such cases). Justices including Justice Thomas, Justice
Breyer, Justice Kennedy, and Justice Sotomayor have criticized qualified immunity. Schwartz,
supra at 1798–99. See also Cole v. Carson, _ F.3d _, 2019 WL 3928715, at * 19-21, & nn. 1, 10
(5th Cir. Aug. 21, 2019) (en banc) (Willett, J., Dissenting). Additionally, qualified immunity
violates the separation of powers doctrine of the Constitution. See generally Katherine Mims
Crocker, Qualified Immunity and Constitutional Structure, 117 Mich. L. Rev. 1405 (2019)
(available at https://repository.law.umich.edu/mlr/vol117/iss7/3). Plaintiff includes allegations in
this footnote to assure that, if legally necessary, the qualified immunity abrogation or limitation
issue has been preserved.



Plaintiff’s Original Complaint – Page 66 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 67 of 73 PageID 67



         147.     Therefore, Gary’s estate and/or his heirs at law (Claimant Heirs) suffered the

following damages, for which they seek recovery from Individual Defendants:

                  •    Gary’s conscious physical pain, suffering, and mental anguish;

                  •    Gary’s medical expenses;

                  •    Gary’s funeral expenses; and

                  •    exemplary/punitive damages.

         148.     Plaintiff also individually seeks and is entitled to all remedies and damages

available to her for 42 U.S.C. § 1983 claims. Plaintiff seeks such damages as a result of the

wrongful death of her son. Those damages were caused and/or proximately caused by Individual

Defendants. Therefore, their actions caused, were a proximate cause of, and/or were a producing

cause of the following damages suffered by Plaintiff individually, for which she individually seeks

compensation:


                  •    loss of services that Plaintiff would have received from Gary;

                  •    expenses for Gary’s funeral;

                  •    past mental anguish and emotional distress suffered by Plaintiff resulting from
                       and caused by Gary’s death;

                  •    future mental anguish and emotional distress suffered by Plaintiff resulting
                       from and caused by Gary’s death;

                  •    loss of companionship and society that Plaintiff would have received from
                       Gary; and

                  •    exemplary/punitive damages.


Exemplary/punitive damages are appropriate in this case to deter and punish clear and unabashed

violation of Gary’s constitutional rights. Individual Defendants’ actions and inaction showed a

reckless or callous disregard of, or indifference to, Gary’s rights and safety. Moreover, Plaintiff



Plaintiff’s Original Complaint – Page 67 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 68 of 73 PageID 68



individually, and also on behalf of Claimant Heirs, seeks reasonable and necessary attorneys’ fees

available pursuant to 42 U.S.C. §§ 1983 and 1988.

         D.       Cause of Action Against Hunt County Under 42 U.S.C. § 1983 for Violation of
                  14th Amendment Due Process and/or 4th Amendment Rights to Reasonable
                  Medical Care, to be Protected, and not to be Punished

         149.     In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and incorporating

all other allegations herein (including all allegations in the “Factual Allegations” section above) to

the extent they are not inconsistent with the cause of action pled here, Defendant Hunt County is

liable to Plaintiff and Claimant Heirs, pursuant to 42 U.S.C. § 1983, for violating Gary's rights to

reasonable medical care, to be protected, and not to be punished as a pre-trial detainee. These

rights are guaranteed by the 4th and/or 14th Amendments to the United States Constitution. Pretrial

detainees are entitled to a greater degree of medical and mental health care than convicted inmates,

according to the Fifth Circuit Court of Appeals. They are also entitled to be protected and not to

be punished at all, since they have not been convicted of any alleged crime resulting in their

incarceration.

         150.     Hunt County acted or failed to act, through natural persons including Individual

Defendants, under color of State law at all relevant times. Hunt County’s policies, practices, and/or

customs were moving forces behind and caused, were producing causes of, and/or were proximate

causes of Gary’s suffering, damages, and death, and the damages suffered by Plaintiff and

Claimant Heirs.

         151.     The Fifth Circuit Court of Appeals has made it clear that Plaintiff need not allege

the appropriate chief policymaker at the pleadings stage. Nevertheless, out of an abundance of

caution, the sheriff of Hunt County was the relevant chief policymaker over matters at issue in this




Plaintiff’s Original Complaint – Page 68 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                  Page 69 of 73 PageID 69



case. Moreover, in addition, and in the alternative, the Hunt County jail administrator was the

relevant chief policymaker over matters at issue in this case. Finally, in addition, and in the

alternative, Hunt County’s commissioners’ court was the relevant chief policymaker.

Nevertheless, these are just suggestions as to the relevant chief policymaker(s), as the Fifth Circuit

Court of Appeals has made it clear that Plaintiff need not allege the relevant final chief

policymaker(s) at the pleadings stage.            The court will determine the appropriate chief

policymaker(s) at the appropriate time.

         152.     Hunt County was deliberately indifferent regarding policies, practices, and/or

customs developed and/or used with regard to issues addressed by allegations set forth above. It

also acted in an objectively unreasonable manner. Policies, practices, and/or customs referenced

above, as well as the failure to adopt appropriate policies, were moving forces behind and caused

violation of Gary’s rights and showed deliberate indifference to the known or obvious

consequences that constitutional violations would occur. Hunt County’s policies, practices, and/or

customs, whether written or not, were also objectively unreasonable as applied to Gary.

         153.     Therefore, Gary’s estate and/or his heirs at law (Claimant Heirs) suffered the

following damages, for which they seek recovery from Hunt County:

                  •    Gary’s conscious physical pain, suffering, and mental anguish;

                  •    Gary’s medical expenses; and

                  •    Gary’s funeral expenses.

         154.     Plaintiff also individually seeks and is entitled to all remedies and damages

available to her for 42 U.S.C. § 1983 claims. Plaintiff seeks such damages as a result of the

wrongful death of her son. Hunt County’s policies, practices, and/or customs caused, were




Plaintiff’s Original Complaint – Page 69 of 73
      Case 3:20-cv-02935-N Document 1 Filed 09/23/20                 Page 70 of 73 PageID 70



proximate and/or producing causes of, and/or were moving forces behind and caused the following

damages suffered by Plaintiff, for which she individually seeks compensation:

                  •    loss of services that Plaintiff would have received from Gary;

                  •    expenses for Gary’s funeral;

                  •    past mental anguish and emotional distress suffered by Plaintiff resulting from
                       and caused by Gary’s death;

                  •    future mental anguish and emotional distress suffered by Plaintiff resulting
                       from and caused by Gary’s death; and

                  •    loss of companionship and society that Plaintiff would have received from
                       Gary.


Moreover, Plaintiff individually, and on behalf of Claimant Heirs, seeks reasonable and necessary

attorneys’ fees available pursuant to 42 U.S.C. §§ 1983 and 1988.

IV.       Concluding Allegations and Prayer

          A.      Conditions Precedent

          155.    All conditions precedent to assertion of all claims herein have occurred.

          B.      Use of Documents at Trial or Pretrial Proceedings

          156.    Plaintiff and Claimant Heirs intend to use at one or more pretrial proceedings and/or

at trial all documents produced by Defendants in this case in response to written discovery requests,

with initial disclosures (and any supplements or amendments to same), and in response to Public

Information Act request(s).

          C.      Jury Demand

          157.    Plaintiff and Claimant Heirs demand a jury trial on all issues which may be tried to

a jury.

          D.      Prayer




Plaintiff’s Original Complaint – Page 70 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                    Page 71 of 73 PageID 71



         158.     For these reasons, Plaintiff asks that Defendants be cited to appear and answer, and

that Plaintiff (Gwendolyn Carswell) and Claimant Heirs (Gwendolyn Carswell, Shonqua Franklin,

Tywana Cobb, Michael Lynch, Roderick Cobb, Gary Valdez Lynch, Jr., Shonda Runnel, Alicia

Gentry, and Ashley Gentry) have judgment for damages within the jurisdictional limits of the court

and against all Defendants, jointly and severally, as legally available and applicable, for all

damages referenced above and below in this pleading:

         a)       actual damages of and for Gwendolyn Carswell, individually and as administrator
                  of the referenced estate; and Shonqua Franklin, Tywana Cobb, Michael Lynch,
                  Roderick Cobb, Gary Valdez Lynch, Jr., Shonda Runnel, Alicia Gentry, and Ashley
                  Gentry, including but not necessarily limited to:

                  •         loss of services that Plaintiff would have received from Gary;

                  •         medical expenses for Gary;

                  •         expenses for Gary’s funeral;

                  •         Plaintiff’s past mental anguish and emotional distress resulting from and
                            caused by Gary’s death;

                  •         Plaintiff’s future mental anguish and emotional distress resulting from and
                            caused by Gary’s death;

                  •         Gary’s conscious physical pain, suffering, and mental health anguish; and

                  •         Plaintiff’s loss of companionship and society she would have received from
                            Gary;

         b)       exemplary/punitive damages for Plaintiff and Claimant Heirs, from Individual

                  Defendants (George A. Camp, Jana R. Campbell, Helen M. Landers, Kenneth R.

                  Marriott, Kolbee A. Perdue, Teri J. Robinson, Vi N. Wells, and Scotty D. York);

         c)       reasonable and necessary attorneys’ fees for Plaintiff and Claimant Heirs, through

                  trial and any appeals and other appellate proceedings, pursuant to 42 U.S.C. §§

                  1983 and 1988;




Plaintiff’s Original Complaint – Page 71 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                 Page 72 of 73 PageID 72



         d)       court costs and all other recoverable costs;

         e)       prejudgment and postjudgment interest at the highest allowable rates; and

         f)       all other relief, legal and equitable, general and special, to which Plaintiff and

                  Claimant Heirs are entitled.




Plaintiff’s Original Complaint – Page 72 of 73
    Case 3:20-cv-02935-N Document 1 Filed 09/23/20                   Page 73 of 73 PageID 73



                                                 Respectfully submitted:


                                                 Law Offices of Dean Malone, P.C.


                                                      /s/ T. Dean Malone
                                                    T. Dean Malone

                                                 T. Dean Malone
                                                 Attorney-in-charge
                                                 dean@deanmalone.com
                                                 Texas State Bar No. 24003265
                                                 Law Offices of Dean Malone, P.C.
                                                 900 Jackson Street, Suite 730
                                                 Dallas, Texas 75202
                                                 Telephone: (214) 670-9989
                                                 Telefax:      (214) 670-9904

                                                 Of Counsel:

                                                 Michael T. O'Connor
                                                 Texas State Bar No. 24032922
                                                 michael.oconnor@deanmalone.com
                                                 Kristen Leigh Homyk
                                                 Texas State Bar No. 24032433
                                                 kristen.homyk@deanmalone.com
                                                 Law Offices of Dean Malone, P.C.
                                                 900 Jackson Street, Suite 730
                                                 Dallas, Texas 75202
                                                 Telephone:     (214) 670-9989
                                                 Telefax:       (214) 670-9904

                                                 Christopher B. Rehmet
                                                 Texas State Bar No. 24035414
                                                 service@tatelawoffices.com
                                                 Tate Rehmet Law Office, P.C.
                                                 2902 N. U.S. Highway 75
                                                 Sherman, Texas 75090
                                                 Telephone:    (903) 892-4440
                                                 Telefax:      (903) 893-5558

                                                 Attorneys for Plaintiff




Plaintiff’s Original Complaint – Page 73 of 73
